Case 21-03006-sgj Doc 221 Filed 08/05/22         Entered 08/05/22 21:37:01       Page 1 of 48



 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No. 143717)
 John A. Morris (NY Bar No. 2405397)
 Gregory V. Demo (NY Bar No. 5371992)
 Hayley R. Winograd (NY Bar No. 5612569)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760
 Email: jpomerantz@pszjlaw.com
          jmorris@pszjlaw.com
          gdemo@pszjlaw.com
          hwinograd@pszjlaw.com
 -and-

 HAYWARD PLLC
 Melissa S. Hayward (Texas Bar No. 24044908)
 Zachery Z. Annable (Texas Bar No. 24053075)
 10501 N. Central Expy., Ste. 106
 Dallas, Texas 75231
 Telephone: (972) 755-7100
 Facsimile: (972) 755-7110
 Email: MHayward@HaywardFirm.com
          ZAnnable@HaywardFirm.com

 Counsel for Highland Capital Management, L.P.

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                     §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                     §
                                                     §
                                 Plaintiff,
                                                     §
                                                     §   Adv. Proc. No. 21-03003-sgj
 vs.
                                                     §
                                                     §
 JAMES DONDERO, NANCY DONDERO, AND THE
                                                     §
 DUGABOY INVESTMENT TRUST,                               Case No. 3:21-cv-00881-X
                                                     §
                                                     §
                                 Defendants.
                                                     §
                                                     §




DOCS_NY:46224.3 36027/004
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01       Page 2 of 48




                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                                               §   Adv. Proc. No. 21-03004-sgj
                            Plaintiff,
                                               §
 vs.                                           §
                                               §
                                               §   Case No. 3:21-cv-00881-X
 HIGHLAND CAPITAL MANAGEMENT FUND              §
 ADVISORS, L.P.,                               §
                                               §
                                               §
                            Defendant.         §
                                               §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,             Adv. Proc. No. 21-03005-sgj
                                               §
                                               §
 vs.
                                               §
                                               §
 NEXPOINT ADVISORS, L.P., JAMES                    Case No. 3:21-cv-00881-X
                                               §
 DONDERO, NANCY DONDERO, AND
                                               §
 THE DUGABOY INVESTMENT TRUST,
                                               §
                                               §
                            Defendants.        §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,             Adv. Proc. No. 21-03006-sgj
                                               §
                                               §
 vs.
                                               §
                                               §
 HIGHLAND CAPITAL MANAGEMENT                       Case No. 3:21-cv-00881-X
                                               §
 SERVICES, INC., JAMES DONDERO,
                                               §
 NANCY DONDERO, AND THE DUGABOY
                                               §
 INVESTMENT TRUST,
                                               §
                                               §
                            Defendants.
                                               §




DOCS_NY:46224.3 36027/004
Case 21-03006-sgj Doc 221 Filed 08/05/22                  Entered 08/05/22 21:37:01            Page 3 of 48




                                                               §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                               §
                                                               §
                                    Plaintiff,                 § Adv. Proc. No. 21-03007-sgj
                                                               §
    vs.                                                        §
                                                               § Case No. 3:21-cv-00881-X
    HCRE PARTNERS, LLC (n/k/a NexPoint                         §
    Real Estate Partners, LLC), JAMES                          §
    DONDERO, NANCY DONDERO, AND                                §
    THE DUGABOY INVESTMENT TRUST,                              §
                                                               §
                                                               §
                                    Defendants.                §


          DECLARATION OF DAVID KLOS IN SUPPORT OF HIGHLAND CAPITAL
               MANAGEMENT L.P.’S PROPOSED FORM OF JUDGMENT


          I, David Klos, pursuant to 28 U.S.C. § 1746, under penalty of perjury, declare as follows:

                 1.         I am the Chief Financial Officer (“CFO”) of the reorganized Highland

Capital Management, L.P. (“Highland”), and I submit this Declaration in support of Highland

Capital Management, L.P.’s Proposed Form of Judgment (the “Proposed Judgment”). I have

personal knowledge of the work and arithmetic calculations described below.

                 2.         I joined Highland in 2009 and served as Controller from 2017 to 2020 and

Chief Accounting Officer from 2020 to February 2021. At all relevant times, I reported to Frank

Waterhouse until he left the company in February 2021. I was appointed CFO in March 2021

following confirmation of Highland’s Plan. 1

                 3.         I understand that on July 19, 2022, the Bankruptcy Court rendered a Report

and Recommendation to District Court: Court Should Grant Plaintiff’s Motion for Partial


1
 Capitalized terms not defined herein shall have the meanings ascribed in Highland Capital Management, L.P.’s
Amended Memorandum of Law in Support of Motion for Partial Summary Judgment filed in Adv. Pro. No. 21-
03003 at Docket No. 137; Adv. Pro. No. 21-03004 at Docket No. 95; Adv. Pro. No. 21-03005 at Docket No. 136;
Adv. Pro. No. 21-03006 at Docket No. 133; and Adv. Pro. No. 21-03007 at Docket No. 128 (the “Motion”).



DOCS_NY:46224.3 36027/004
Case 21-03006-sgj Doc 221 Filed 08/05/22                   Entered 08/05/22 21:37:01           Page 4 of 48




Summary Judgment Against All Five Note Maker Defendants (With Respect to All Sixteen

Promissory Notes) in the Above-Referenced Consolidated Note Actions (the “R&R”), 2 and that in

the R&R, the Court directed Highland to “submit a form of Judgment applicable to each Note

Maker Defendant that calculates proper amounts due pursuant to th[e] Report and

Recommendation, including interest accrued to date (and continuing per diem), as well as

attorneys’ fees incurred.” R&R at 44-45.

                 4.         As set forth below, and in accordance with the Court’s direction in the R&R,

I and others working at my direction have calculated the proper amounts due under each of the

sixteen (16) Notes at issue, including (a) unpaid principal and interest due as of August 8, 2022,

and (b) the applicable per diem rate of interest at different points in time.



A. SUMMARY OF PRINCIPAL AND INTERST DUE AS OF AUGUST 8, 2022

                 5.         Attached as Exhibit A is a summary of the amount of principal and unpaid

interest due and owing to Highland as of August 8, 2022, on each Note.

                 6.         Exhibit A sets forth (a) an informal name identifier for each Note; (b) the

original date of each Note (which is the same day that each Obligor borrowed the principal amount

of each Note from Highland); (c) the amount of principal and unpaid interest due and owing as of

December 17, 2021 (the date of the calculations used for the Motion), under each Note; (d) the

amount of principal and unpaid interest due and owing as of August 8, 2022, under each Note; (e)

the amount of interest accruing per day as of August 8, 2022, under each Note (i.e., the “per diem”

interest); (f) the future date upon which the per diem interest will change (see further discussion



2
 Identical copies of the R&R were filed in Adv. Pro. No. 21-03003 at Docket No. 191; Adv. Pro. No. 21-03004 at
Docket No. 163; Adv. Pro. No. 21-03005 at Docket No. 207; Adv. Pro. No. 21-03006 at Docket No. 213; and Adv.
Pro. No. 21-03007 at Docket No. 208.



DOCS_NY:46224.3 36027/004                              3
Case 21-03006-sgj Doc 221 Filed 08/05/22                    Entered 08/05/22 21:37:01            Page 5 of 48




below); and (g) the amount of interest accruing on each Note per day upon the next date that

interest is capitalized into principal.

                 7.         As shown on Exhibit A, the aggregate principal and interest due and owing

as of August 8, 2022 is $59,533,057.65, with per diem interest of $8,049.17 as of the same date. 3



B.      METHODOLOGY FOR CALCULATING PRINCIPAL AND INTEREST DUE

                 8.         In the ordinary course of business, accounting personnel at Highland

working under my direction maintain a schedule of promissory notes issued in exchange for loans

made by Highland, including the Notes at issue in these cases (the “Note Schedule”). The Note

Schedule is updated monthly to calculate interest due under outstanding promissory notes (again,

including each of the Notes at issue) and reconciled to Highland’s general ledger.

                 9.         Using the Note Schedule as applicable to each Note, interest was calculated

through August 8, 2022, based on actual days elapsed at the applicable interest rate for each note,

based on a 365-day year. Certain Obligors made payments under certain of their respective Notes

between December 17, 2021 and December 31, 2021 (the “Subsequent Payments”). In accordance

with the terms of each Note, the Subsequent Payments were applied first to outstanding interest as

of December 31, 2021, and then to principal to the extent the amount of any Subsequent Payment

exceeded the outstanding unpaid interest as of December 31, 2021. In other words, the Subsequent

Payments reduced the total principal and accrued but unpaid interest that otherwise would have

been outstanding.




3
 For the avoidance of doubt, this amount does not include amounts due and owing by HCMFA under two additional
notes issued by HCMFA in February 26, 2014 and February 26, 2016, respectively, which are the subject of a separate
collection action commenced by Highland against HCMFA. See Adv. Proc. 21-03082-sgj.



DOCS_NY:46224.3 36027/004                               4
Case 21-03006-sgj Doc 221 Filed 08/05/22                   Entered 08/05/22 21:37:01            Page 6 of 48




                 10.        To calculate a per diem interest amount for each of the Notes, the

outstanding principal balance of each Note as of August 8, 2022, was multiplied by the stated

interest rate for that Note and then divided by 365 to determine a per diem amount.

                 11.        Additionally, and in accordance with the terms of each Note, accrued and

unpaid interest is capitalized on the anniversary of the original date of the applicable Note (for

example, for a Note dated May 31, 2017, unpaid and outstanding interest is added to the

outstanding principal balance on May 31 each year, and outstanding interest is reduced to zero).

On these anniversary dates, the per diem amount increases because the outstanding principal

amount has increased (in other words, interest is compounding annually).

                 12.        Accordingly, in addition to providing the per diem amount for each of the

Notes as of August 8, 2022, an additional calculation has been included to denote (a) the next date

after August 8, 2022, that interest will be capitalized and (b) the new per diem amount from that

date until the next anniversary of the original date of the Note. 4 The calculation of the new per

diem amount is identical to the calculation of the current per diem amount, except that rather than

using the outstanding principal balance as of August 8, 2022, it uses the outstanding principal

balance as of the next date that outstanding interest is scheduled to be capitalized into the principal

balance.



C.      CALCULATION OF PRINCIPAL AND INTEREST DUE UNDER EACH NOTE
        AS OF AUGUST 8, 2022, AND THE APPLICABLE PER DIEM RATES
        THEREAFTER




4
 These calculations assume that none of the Obligors will make any further Subsequent Payments under any of the
Notes until any judgment that may be entered is satisfied.



DOCS_NY:46224.3 36027/004                              5
Case 21-03006-sgj Doc 221 Filed 08/05/22               Entered 08/05/22 21:37:01     Page 7 of 48




                 13.        Following the methodology described above, attached as Exhibit B is a

spreadsheet showing that Mr. James Dondero (“Dondero”) will owe Highland $3,873,613.93 in

accrued but unpaid principal and interest due under the First Dondero Note (issued on February 2,

2018) as of August 8, 2022, after application of all payments to outstanding principal and interest.

As of August 9, 2022, interest will continue to accrue on the First Dondero Note at the rate of

$278.50 per day and will increase to $285.91 per day on February 2, 2023.

                 14.        Following the methodology described above, attached as Exhibit C is a

spreadsheet showing that Mr. Dondero will owe Highland $2,778,356.23 in accrued but unpaid

principal and interest due under the Second Dondero Note (issued on August 1, 2018), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the Second Dondero Note at the rate of $224.43 per day

and will increase to $231.05 per day on August 1, 2023.

                 15.        Following the methodology described above, attached as Exhibit D is a

spreadsheet showing that Mr. Dondero will owe Highland $2,778,339.88 in accrued but unpaid

principal and interest due under the Third Dondero Note (issued on August 13, 2018), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the Third Dondero Note at the rate of $218.20 per day

and will increase to $224.64 per day on August 13, 2022.

                 16.        Following the methodology described above, attached as Exhibit E is a

spreadsheet showing that HCMFA will owe Highland $2,552,628.61 in accrued but unpaid

principal and interest due under the First HCMFA Note (issued on May 2, 2019), as of August 8,

2022, after application of all payments to outstanding principal and interest. As of August 9, 2022,




DOCS_NY:46224.3 36027/004                          6
Case 21-03006-sgj Doc 221 Filed 08/05/22               Entered 08/05/22 21:37:01     Page 8 of 48




interest will continue to accrue on the First HCMFA Note at the rate of $166.08 per day and will

increase to $170.05 per day on May 2, 2023.

                 17.        Following the methodology described above, attached as Exhibit F is a

spreadsheet showing that HCMFA will owe Highland $5,317,989.86 in accrued but unpaid

principal and interest due under the Second HCMFA Note (issued on May 3, 2019), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the Second HCMFA Note at the rate of $346.02 per day

and will increase to $354.29 per day on May 3, 2023.

                 18.        Following the methodology described above, attached as Exhibit G is a

spreadsheet showing that HCMS will owe Highland $166,196.60 in accrued but unpaid principal

and interest due under the First HCMS Demand Note (issued on March 28, 2018), as of August 8,

2022, after application of all payments to outstanding principal and interest. As of August 9, 2022,

interest will continue to accrue on the First HCMS Demand Note at the rate of $12.98 per day and

will increase to $13.35 per day on March 28, 2023.

                 19.        Following the methodology described above, attached as Exhibit H is a

spreadsheet showing that HCMS will owe Highland $222,917.23 in accrued but unpaid principal

and interest due under the Second HCMS Demand Note (issued on June 25, 2018), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the Second HCMS Demand Note at the rate of $18.56 per

day and will increase to $19.13 per day on June 25, 2023.

                 20.        Following the methodology described above, attached as Exhibit I is a

spreadsheet showing that HCMS will owe Highland $425,435.63 in accrued but unpaid principal

and interest due under the Third HCMS Demand Note (issued on May 29, 2019), as of August 8,




DOCS_NY:46224.3 36027/004                          7
Case 21-03006-sgj Doc 221 Filed 08/05/22               Entered 08/05/22 21:37:01     Page 9 of 48




2022, after application of all payments to outstanding principal and interest. As of August 9, 2022,

interest will continue to accrue under the Third HCMS Demand Note at the rate of $27.73 per day

and will increase to $28.39 per day on May 29, 2023.

                 21.        Following the methodology described above, attached as Exhibit J is a

spreadsheet showing that HCMS will owe Highland $159,454.92 in accrued but unpaid principal

and interest due under the Fourth HCMS Demand Note (issued on June 26, 2019), as of August 8,

2022, after application of all payments to outstanding principal and interest. As of August 9, 2022,

interest will continue to accrue on the Fourth HCMS Demand Note at the rate of $10.32 per day

and will increase to $10.57 per day on June 26, 2023.

                 22.        Following the methodology described above, attached as Exhibit K is a

spreadsheet showing that HCMS will owe Highland $6,071,718.32 in accrued but unpaid principal

and interest due under the HCMS Term Note (issued on May 31, 2017), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest

will continue to accrue on the HCMS Term Note at the rate of $455.09 per day and will increase

to $467.61 per day on May 31, 2023.

                 23.        Following the methodology described above, attached as Exhibit L is a

spreadsheet showing that HCRE will owe Highland $195,476.70 in accrued but unpaid principal

and interest due under the First HCRE Demand Note (issued on November 27, 2013), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the First HCRE Demand Note at the rate of $40.58 per

day and will increase to $43.83 per day on November 27, 2022.

                 24.        Following the methodology described above, attached as Exhibit M is a

spreadsheet showing that HCRE will owe Highland $3,551,285.37 in accrued but unpaid principal




DOCS_NY:46224.3 36027/004                          8
Case 21-03006-sgj Doc 221 Filed 08/05/22               Entered 08/05/22 21:37:01   Page 10 of 48




and interest due under the Second HCRE Demand Note (issued on October 12, 2017), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the Second HCRE Demand Note at the rate of $730.34

per day and will increase to $788.77 per day on October 12, 2022.

                 25.        Following the methodology described above, attached as Exhibit N is a

spreadsheet showing that HCRE will owe Highland $986,472.32 in accrued but unpaid principal

and interest due under the Third HCRE Demand Note (issued on October 15, 2018), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the Third HCRE Demand Note at the rate of $203.00 per

day and will increase to $219.24 per day on October 15, 2022.

                 26.        Following the methodology described above, attached as Exhibit O is a

spreadsheet showing that HCRE will owe Highland $866,600.77 in accrued but unpaid principal

and interest due under the Fourth HCRE Demand Note (issued on September 25, 2019), as of

August 8, 2022, after application of all payments to outstanding principal and interest. As of

August 9, 2022, interest will continue to accrue under the Fourth HCRE Demand Note at the rate

of $177.60 per day and will increase to $191.81 per day on September 25, 2022.

                 27.        Following the methodology described above, attached as Exhibit P is a

spreadsheet showing that HCRE will owe Highland $6,196,688.51 in accrued but unpaid principal

and interest due under the HCRE Term Note (issued on May 31, 2017), as of August 8, 2022, after

application of all payments to outstanding principal and interest. As of August 9, 2022, interest

will continue to accrue on the HCRE Term Note at the rate of $1,337.94 per day and will increase

to $1,444.98 per day on May 31, 2023.




DOCS_NY:46224.3 36027/004                          9
Case 21-03006-sgj Doc 221 Filed 08/05/22                   Entered 08/05/22 21:37:01      Page 11 of 48




                 28.        Following the methodology described above, attached as Exhibit Q is a

spreadsheet showing that NexPoint will owe Highland $23,389,882.79 in accrued but unpaid

principal and interest due under the NexPoint Term Note (issued on May 31, 2017), as of August

8, 2022, after application of all payments to outstanding principal and interest. As of August 9,

2022, interest will continue to accrue on the NexPoint Term Note at the rate of $3,801.79 per day

and will increase to $4,029.90 per day on May 31, 2023.

                 29.        I declare under penalty of perjury that the forgoing is true and correct.

Dated: August 5, 2022



                                                                /s/ David Klos
                                                                    David Klos




DOCS_NY:46224.3 36027/004                             10
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 12 of 48




                                EXHIBIT A
             Case 21-03006-sgj Doc 221 Filed 08/05/22                                             Entered 08/05/22 21:37:01                           Page 13 of 48
Summary*
Principal and interest due on various notes as of specific dates, along with per diem amounts and the dates of changes in per diem


                                                                                                             Next date of change Per Diem for next
                                                                                                              in per diem (from year following date
                            Original Date of As of December 17,                            Per Diem as of      capitalization of  of change in per
                                 Note               2021        As of August 8, 2022       August 8, 2022          interest)           diem
Dondero
Dondero #4                        2/2/2018         3,808,783.89        3,873,613.93 $               278.50        2/2/2023       $          285.91
Dondero #5                        8/1/2018         2,727,300.55        2,778,356.23 $               224.43        8/1/2023       $          231.05
Dondero #6                       8/13/2018         2,727,280.61        2,778,339.88 $               218.20       8/13/2022       $          224.64
Dondero Total                                 $   9,263,365.05 $      9,430,310.03 $                721.13

Per R&R                                       $    9,263,365.05
Difference                                                  ‐


Highland Capital Management Fund Advisors, LP (HCMFA)
HCMFA #6                     5/2/2019            2,553,982.49          2,552,628.61 $               166.08        5/2/2023       $          170.05
HCMFA #7                     5/3/2019            5,320,453.60          5,317,989.86 $               346.02        5/3/2023       $          354.29
HCMFA Total**                                 $   7,874,436.09 $      7,870,618.47 $                512.10

Per R&R                                       $    7,874,436.09
Difference                                                  ‐


HCM Services, Inc. (Demand only)
HCMSI #46                    3/26/2018              166,777.82           166,196.60    $             12.98       3/26/2023       $           13.35
HCMSI #47                    6/25/2018              222,082.34           222,917.23    $             18.56       6/25/2023       $           19.13
HCMSI #48                    5/29/2019              424,922.32           425,435.63    $             27.73       5/29/2023       $           28.39
HCMSI #49                    6/26/2019              158,980.33           159,454.92    $             10.32       6/26/2023       $           10.57
HCM Services Demand Total**                   $    972,762.81 $         974,004.37 $                 69.59

Per R&R                                       $     972,762.81
Difference                                                 ‐


HCM Services, Inc. (Term only)
HCMSI Term**                     5/31/2017    $   6,748,456.31 $      6,071,718.32 $                455.09       5/31/2023       $          467.61

Per R&R                                       $    6,748,456.31
Difference                                                  ‐




HCRE (Demand only)
HCRE #9                          11/27/2013          185,979.85          195,476.70    $             40.58      11/27/2022       $           43.83
HCRE #10                         10/12/2017        3,380,385.47        3,551,285.37    $            730.34      10/12/2022       $          788.77
HCRE #11                         10/15/2018          938,970.62          986,472.32    $            203.00      10/15/2022       $          219.24
HCRE #12                         9/25/2019           825,042.29          866,600.77    $            177.60      9/25/2022        $          191.81
HCRE Demand Total                             $   5,330,378.23 $      5,599,835.16 $              1,151.53

Per R&R                                       $    5,330,378.23
Difference                                                  ‐


HCRE (Term only)
HCRE Term                        5/31/2017    $   5,899,962.22 $      6,196,688.51 $              1,337.94       5/31/2023       $        1,444.98

Per R&R                                       $    5,899,962.22
Difference                                                  ‐


NexPoint Advisors, LP
NexPoint Term**                  5/31/2017    $ 24,383,877.27 $ 23,389,882.79 $                   3,801.79       5/31/2023       $        4,029.90

Per R&R                                       $   24,383,877.27
Difference                                                  ‐



Grand Total from Summary Judgment                                 $ 59,533,057.65 $               8,049.17 Per diem              $        8,523.50 Future per diem, post‐PIK

* Not included above are collection of costs of recovery and attorneys' fees
** Note that one or more payments made between December 17, 2021 and August 8, 2022 has been applied to outstanding principal and/or interest.
The balances as of August 8, 2022 reflect the application of such payment(s).
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 14 of 48




                                EXHIBIT B
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                Entered 08/05/22 21:37:01                               Page 15 of 48


Dondero #4


Closing Date                                       2/2/2018
Total Commitment                         $        3,825,000
Rate                                                 2.660%




                                                                                                                                           Total of Outstanding
                                                                                                                                          Principal and Interest
       Date           Interest Accrual       Interest Paid     Accrued Interest   Beg Prin Bal    Principal Paid       Ending Prin Bal       (selected dates)      Total Paid
           2/2/2018                                                                                                        3,825,000.00
          2/28/2018          7,247.59                                 7,247.59     3,825,000.00                            3,825,000.00
          3/31/2018          8,641.36                                15,888.95     3,825,000.00                            3,825,000.00
          4/30/2018          8,362.60                                24,251.55     3,825,000.00                            3,825,000.00
          5/31/2018          8,641.36                                32,892.90     3,825,000.00                            3,825,000.00
          6/30/2018          8,362.60                                41,255.51     3,825,000.00                            3,825,000.00
          7/31/2018          8,641.36                                49,896.86     3,825,000.00                            3,825,000.00
          8/31/2018          8,641.36                                58,538.22     3,825,000.00                            3,825,000.00
          9/30/2018          8,362.60                                66,900.82     3,825,000.00                            3,825,000.00
        10/31/2018           8,641.36                                75,542.18     3,825,000.00                            3,825,000.00
        11/30/2018           8,362.60                                83,904.78     3,825,000.00                            3,825,000.00
        12/31/2018           8,641.36                                92,546.14     3,825,000.00                            3,825,000.00
          1/31/2019          8,641.36                               101,187.49     3,825,000.00                            3,825,000.00
           2/2/2019            557.51           (101,745.00)               ‐       3,825,000.00          101,745.00        3,926,745.00                                         ‐   *Annual Compound Interest
          2/28/2019          7,440.37                                 7,440.37     3,926,745.00                            3,926,745.00
          3/31/2019          8,871.22                                16,311.59     3,926,745.00                            3,926,745.00
          4/30/2019          8,585.05                                24,896.64     3,926,745.00                            3,926,745.00
          5/31/2019          8,871.22                                33,767.86     3,926,745.00                            3,926,745.00
          6/30/2019          8,585.05                                42,352.90     3,926,745.00                            3,926,745.00
          7/31/2019          8,871.22                                51,224.12     3,926,745.00                            3,926,745.00
          8/31/2019          8,871.22                                60,095.34     3,926,745.00                            3,926,745.00
          9/30/2019          8,585.05                                68,680.38     3,926,745.00                            3,926,745.00
        10/15/2019           4,292.52                                72,972.91     3,926,745.00                            3,926,745.00
        10/31/2019           4,578.69                                77,551.60     3,926,745.00                            3,926,745.00
        11/30/2019           8,585.05                                86,136.65     3,926,745.00                            3,926,745.00
        12/23/2019           6,581.87           (166,840.32)        (74,121.80)    3,926,745.00         (239,475.29)       3,687,269.71                               (406,315.61) Principal + interest
        12/31/2019           2,149.73                               (71,972.07)    3,687,269.71                            3,687,269.71
          1/31/2020          8,330.20                               (63,641.87)    3,687,269.71                            3,687,269.71
           2/2/2020            537.43                               (63,104.44)    3,687,269.71                    ‐       3,687,269.71
          2/29/2020          7,255.33                               (55,849.11)    3,687,269.71                            3,687,269.71
          3/31/2020          8,330.20                               (47,518.91)    3,687,269.71                            3,687,269.71
          4/30/2020          8,061.48                               (39,457.43)    3,687,269.71                            3,687,269.71
          5/31/2020          8,330.20                               (31,127.23)    3,687,269.71                            3,687,269.71
          6/30/2020          8,061.48                               (23,065.74)    3,687,269.71                            3,687,269.71
          7/31/2020          8,330.20                               (14,735.55)    3,687,269.71                            3,687,269.71
          8/31/2020          8,330.20                                (6,405.35)    3,687,269.71                            3,687,269.71
          9/30/2020          8,061.48                                 1,656.14     3,687,269.71                            3,687,269.71
        10/31/2020           8,330.20                                 9,986.34     3,687,269.71                            3,687,269.71
        11/30/2020           8,061.48                                18,047.82     3,687,269.71                            3,687,269.71
        12/31/2020           8,330.20                                26,378.02     3,687,269.71                            3,687,269.71
          1/31/2021          8,330.20                                34,708.22     3,687,269.71                            3,687,269.71
           2/2/2021            537.43            (35,245.65)               ‐       3,687,269.71           35,245.65        3,722,515.36                                         ‐   *Annual Compound Interest
          2/28/2021          7,053.40                                 7,053.40     3,722,515.36                            3,722,515.36
          3/31/2021          8,409.83                                15,463.23     3,722,515.36                            3,722,515.36
          4/30/2021          8,138.54                                23,601.77     3,722,515.36                            3,722,515.36
          5/31/2021          8,409.83                                32,011.59     3,722,515.36                            3,722,515.36
          6/30/2021          8,138.54                                40,150.13     3,722,515.36                            3,722,515.36
          7/31/2021          8,409.83                                48,559.96     3,722,515.36                            3,722,515.36
          8/31/2021          8,409.83                                56,969.78     3,722,515.36                            3,722,515.36
          9/30/2021          8,138.54                                65,108.32     3,722,515.36                            3,722,515.36
        10/31/2021           8,409.83                                73,518.15     3,722,515.36                            3,722,515.36
        11/30/2021           8,138.54                                81,656.69     3,722,515.36                            3,722,515.36
        12/17/2021           4,611.84                                86,268.53     3,722,515.36                            3,722,515.36          3,808,783.89
          1/31/2022         12,207.81                                98,476.34     3,722,515.36                            3,722,515.36
           2/2/2022            542.57            (99,018.91)               ‐       3,722,515.36           99,018.91        3,821,534.27                                         ‐   *Annual Compound Interest
          2/28/2022          7,241.02                                 7,241.02     3,821,534.27                            3,821,534.27
          3/31/2022          8,633.53                                15,874.55     3,821,534.27                            3,821,534.27
          4/30/2022          8,355.03                                24,229.57     3,821,534.27                            3,821,534.27
          5/31/2022          8,633.53                                32,863.10     3,821,534.27                            3,821,534.27
          6/30/2022          8,355.03                                41,218.13     3,821,534.27                            3,821,534.27
          7/31/2022          8,633.53                                49,851.65     3,821,534.27                            3,821,534.27
           8/8/2022          2,228.01                                52,079.66     3,821,534.27                            3,821,534.27          3,873,613.93
          9/30/2022         14,760.55                                66,840.20     3,821,534.27                            3,821,534.27
        10/31/2022           8,633.53                                75,473.73     3,821,534.27                            3,821,534.27
        11/30/2022           8,355.03                                83,828.76     3,821,534.27                            3,821,534.27
        12/31/2022           8,633.53                                92,462.28     3,821,534.27                            3,821,534.27
          1/31/2023          8,633.53                               101,095.81     3,821,534.27                            3,821,534.27
           2/2/2023            557.00           (101,652.81)               ‐       3,821,534.27          101,652.81        3,923,187.08                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 16 of 48




                                EXHIBIT C
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                   Entered 08/05/22 21:37:01                               Page 17 of 48


Dondero #5


Closing Date                                     8/1/2018
Total Commitment                       $        2,500,000
Rate                                               2.950%




                                                                                                                                         Total of Outstanding
                                                                                                                                        Principal and Interest
       Date         Interest Accrual       Interest Paid     Accrued Interest    Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
           8/1/2018                                                                                                      2,500,000.00
          8/31/2018         6,061.64                                 6,061.64     2,500,000.00                           2,500,000.00
          9/30/2018         6,061.64                                12,123.29     2,500,000.00                           2,500,000.00
        10/31/2018          6,263.70                                18,386.99     2,500,000.00                           2,500,000.00
        11/30/2018          6,061.64                                24,448.63     2,500,000.00                           2,500,000.00
        12/31/2018          6,263.70                                30,712.33     2,500,000.00                           2,500,000.00
          1/31/2019         6,263.70                                36,976.03     2,500,000.00                           2,500,000.00
          2/28/2019         5,657.53                                42,633.56     2,500,000.00                           2,500,000.00
          3/31/2019         6,263.70                                48,897.26     2,500,000.00                           2,500,000.00
          4/30/2019         6,061.64                                54,958.90     2,500,000.00                           2,500,000.00
          5/31/2019         6,263.70                                61,222.60     2,500,000.00                           2,500,000.00
          6/30/2019         6,061.64                                67,284.25     2,500,000.00                           2,500,000.00
          7/31/2019         6,263.70                                73,547.95     2,500,000.00                           2,500,000.00
           8/1/2019           202.05           (73,750.00)                ‐       2,500,000.00           73,750.00       2,573,750.00                                         ‐   *Annual Compound Interest
          8/31/2019         6,240.46                                 6,240.46     2,573,750.00                           2,573,750.00
          9/30/2019         6,240.46                                12,480.92     2,573,750.00                           2,573,750.00
        10/15/2019          3,120.23                                15,601.16     2,573,750.00                           2,573,750.00
        10/31/2019          3,328.25                                18,929.40     2,573,750.00                           2,573,750.00
        11/30/2019          6,240.46                                25,169.86     2,573,750.00                           2,573,750.00
        12/23/2019          4,784.35           (29,954.22)              (0.00)    2,573,750.00                           2,573,750.00                                (29,954.22) Interest
        12/31/2019          1,664.12                                 1,664.12     2,573,750.00                           2,573,750.00
          1/31/2020         6,448.48                                 8,112.60     2,573,750.00                           2,573,750.00
          2/29/2020         6,032.45                                14,145.05     2,573,750.00                           2,573,750.00
          3/31/2020         6,448.48                                20,593.52     2,573,750.00                           2,573,750.00
          4/30/2020         6,240.46                                26,833.99     2,573,750.00                           2,573,750.00
          5/31/2020         6,448.48                                33,282.46     2,573,750.00                           2,573,750.00
          6/30/2020         6,240.46                                39,522.93     2,573,750.00                           2,573,750.00
          7/31/2020         6,448.48                                45,971.41     2,573,750.00                           2,573,750.00
           8/1/2020           208.02           (46,179.42)               0.00     2,573,750.00           46,179.42       2,619,929.42                                         ‐   *Annual Compound Interest
          8/31/2020         6,352.43                                 6,352.43     2,619,929.42                           2,619,929.42
          9/30/2020         6,352.43                                12,704.86     2,619,929.42                           2,619,929.42
        10/31/2020          6,564.18                                19,269.04     2,619,929.42                           2,619,929.42
        11/30/2020          6,352.43                                25,621.47     2,619,929.42                           2,619,929.42
        12/31/2020          6,564.18                                32,185.65     2,619,929.42                           2,619,929.42
          1/31/2021         6,564.18                                38,749.83     2,619,929.42                           2,619,929.42
          2/28/2021         5,928.94                                44,678.77     2,619,929.42                           2,619,929.42
          3/31/2021         6,564.18                                51,242.95     2,619,929.42                           2,619,929.42
          4/30/2021         6,352.43                                57,595.38     2,619,929.42                           2,619,929.42
          5/31/2021         6,564.18                                64,159.56     2,619,929.42                           2,619,929.42
          6/30/2021         6,352.43                                70,511.99     2,619,929.42                           2,619,929.42
          7/31/2021         6,564.18                                77,076.17     2,619,929.42                           2,619,929.42
           8/1/2021           211.75           (77,287.92)              (0.00)    2,619,929.42           77,287.92       2,697,217.34                                         ‐   *Annual Compound Interest
          8/31/2021         6,539.83                                 6,539.83     2,697,217.34                 ‐         2,697,217.34
          9/30/2021         6,539.83                                13,079.65     2,697,217.34                           2,697,217.34
        10/31/2021          6,757.82                                19,837.48     2,697,217.34                           2,697,217.34
        11/30/2021          6,539.83                                26,377.31     2,697,217.34                           2,697,217.34
        12/17/2021          3,705.90                                30,083.21     2,697,217.34                           2,697,217.34           2,727,300.55
          1/31/2022         9,809.74                                39,892.95     2,697,217.34                           2,697,217.34
          2/28/2022         6,103.84                                45,996.79     2,697,217.34                           2,697,217.34
          3/31/2022         6,757.82                                52,754.61     2,697,217.34                           2,697,217.34
          4/30/2022         6,539.83                                59,294.44     2,697,217.34                           2,697,217.34
          5/31/2022         6,757.82                                66,052.26     2,697,217.34                           2,697,217.34
          6/30/2022         6,539.83                                72,592.09     2,697,217.34                           2,697,217.34
          7/31/2022         6,757.82                                79,349.92     2,697,217.34                           2,697,217.34
           8/1/2022           217.99           (79,567.91)                ‐       2,697,217.34           79,567.91       2,776,785.25                                         ‐   *Annual Compound Interest
           8/8/2022         1,570.98                                 1,570.98     2,776,785.25                           2,776,785.25           2,778,356.23
          9/30/2022       11,894.53                                 13,465.51     2,776,785.25                           2,776,785.25
        10/31/2022          6,957.18                                20,422.68     2,776,785.25                           2,776,785.25
        11/30/2022          6,732.75                                27,155.44     2,776,785.25                           2,776,785.25
        12/31/2022          6,957.18                                34,112.62     2,776,785.25                           2,776,785.25
          1/31/2023         6,957.18                                41,069.79     2,776,785.25                           2,776,785.25
          2/28/2023         6,283.90                                47,353.70     2,776,785.25                           2,776,785.25
          3/31/2023         6,957.18                                54,310.88     2,776,785.25                           2,776,785.25
          4/30/2023         6,732.75                                61,043.63     2,776,785.25                           2,776,785.25
          5/31/2023         6,957.18                                68,000.81     2,776,785.25                           2,776,785.25
          6/30/2023         6,732.75                                74,733.56     2,776,785.25                           2,776,785.25
          7/31/2023         6,957.18                                81,690.74     2,776,785.25                           2,776,785.25
           8/1/2023           224.43           (81,915.16)                ‐       2,776,785.25           81,915.16       2,858,700.41                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 18 of 48




                                EXHIBIT D
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                   Entered 08/05/22 21:37:01                               Page 19 of 48


Dondero #6


Closing Date                                    8/13/2018
Total Commitment                       $        2,500,000
Rate                                               2.950%




                                                                                                                                         Total of Outstanding
                                                                                                                                        Principal and Interest
       Date         Interest Accrual       Interest Paid     Accrued Interest    Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
          8/13/2018                                                                                                      2,500,000.00
          8/31/2018         3,636.99                                 3,636.99     2,500,000.00                           2,500,000.00
          9/30/2018         6,061.64                                 9,698.63     2,500,000.00                           2,500,000.00
        10/31/2018          6,263.70                                15,962.33     2,500,000.00                           2,500,000.00
        11/30/2018          6,061.64                                22,023.97     2,500,000.00                           2,500,000.00
        12/31/2018          6,263.70                                28,287.67     2,500,000.00                           2,500,000.00
          1/31/2019         6,263.70                                34,551.37     2,500,000.00                           2,500,000.00
          2/28/2019         5,657.53                                40,208.90     2,500,000.00                           2,500,000.00
          3/31/2019         6,263.70                                46,472.60     2,500,000.00                           2,500,000.00
          4/30/2019         6,061.64                                52,534.25     2,500,000.00                           2,500,000.00
          5/31/2019         6,263.70                                58,797.95     2,500,000.00                           2,500,000.00
          6/30/2019         6,061.64                                64,859.59     2,500,000.00                           2,500,000.00
          7/31/2019         6,263.70                                71,123.29     2,500,000.00                           2,500,000.00
          8/13/2019         2,626.71           (73,750.00)                ‐       2,500,000.00           73,750.00       2,573,750.00                                         ‐   *Annual Compound Interest
          8/31/2019         3,744.28                                 3,744.28     2,573,750.00                           2,573,750.00
          9/30/2019         6,240.46                                 9,984.74     2,573,750.00                           2,573,750.00
        10/15/2019          3,120.23                                13,104.97     2,573,750.00                           2,573,750.00
        10/31/2019          3,328.25                                16,433.22     2,573,750.00                           2,573,750.00
        11/30/2019          6,240.46                                22,673.68     2,573,750.00                           2,573,750.00
        12/23/2019          4,784.35           (27,458.03)               0.00     2,573,750.00                           2,573,750.00                                (27,458.03) Interest
        12/31/2019          1,664.12                                 1,664.13     2,573,750.00                           2,573,750.00
          1/31/2020         6,448.48                                 8,112.61     2,573,750.00                           2,573,750.00
          2/29/2020         6,032.45                                14,145.05     2,573,750.00                           2,573,750.00
          3/31/2020         6,448.48                                20,593.53     2,573,750.00                           2,573,750.00
          4/30/2020         6,240.46                                26,833.99     2,573,750.00                           2,573,750.00
          5/31/2020         6,448.48                                33,282.47     2,573,750.00                           2,573,750.00
          6/30/2020         6,240.46                                39,522.93     2,573,750.00                           2,573,750.00
          7/31/2020         6,448.48                                45,971.41     2,573,750.00                           2,573,750.00
          8/13/2020         2,704.20           (48,675.61)               0.00     2,573,750.00           48,675.61       2,622,425.61                                         ‐   *Annual Compound Interest
          8/31/2020         3,815.09                                 3,815.09     2,622,425.61                           2,622,425.61
          9/30/2020         6,358.48                                10,173.57     2,622,425.61                           2,622,425.61
        10/31/2020          6,570.43                                16,744.01     2,622,425.61                           2,622,425.61
        11/30/2020          6,358.48                                23,102.49     2,622,425.61                           2,622,425.61
        12/31/2020          6,570.43                                29,672.93     2,622,425.61                           2,622,425.61
          1/31/2021         6,570.43                                36,243.36     2,622,425.61                           2,622,425.61
          2/28/2021         5,934.59                                42,177.94     2,622,425.61                           2,622,425.61
          3/31/2021         6,570.43                                48,748.38     2,622,425.61                           2,622,425.61
          4/30/2021         6,358.48                                55,106.86     2,622,425.61                           2,622,425.61
          5/31/2021         6,570.43                                61,677.30     2,622,425.61                           2,622,425.61
          6/30/2021         6,358.48                                68,035.78     2,622,425.61                           2,622,425.61
          7/31/2021         6,570.43                                74,606.21     2,622,425.61                           2,622,425.61
          8/13/2021         2,755.34           (77,361.56)              (0.00)    2,622,425.61           77,361.56       2,699,787.17                                         ‐   *Annual Compound Interest
          8/31/2021         3,927.64                                 3,927.63     2,699,787.17                 ‐         2,699,787.17
          9/30/2021         6,546.06                                10,473.69     2,699,787.17                           2,699,787.17
        10/31/2021          6,764.26                                17,237.95     2,699,787.17                           2,699,787.17
        11/30/2021          6,546.06                                23,784.01     2,699,787.17                           2,699,787.17
        12/17/2021          3,709.43                                27,493.44     2,699,787.17                           2,699,787.17           2,727,280.61
          1/31/2022         9,819.09                                37,312.53     2,699,787.17                           2,699,787.17
          2/28/2022         6,109.66                                43,422.19     2,699,787.17                           2,699,787.17
          3/31/2022         6,764.26                                50,186.45     2,699,787.17                           2,699,787.17
          4/30/2022         6,546.06                                56,732.51     2,699,787.17                           2,699,787.17
          5/31/2022         6,764.26                                63,496.77     2,699,787.17                           2,699,787.17
          6/30/2022         6,546.06                                70,042.83     2,699,787.17                           2,699,787.17
           8/8/2022         8,509.88                                78,552.71     2,699,787.17                           2,699,787.17           2,778,339.88
          8/13/2022         1,091.01           (79,643.72)                ‐       2,699,787.17           79,643.72       2,779,430.89                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 20 of 48




                                EXHIBIT E
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                 Entered 08/05/22 21:37:01                              Page 21 of 48


HCMFA #6


Closing Date                                        5/2/2019
Total Commitment                         $        2,400,000
Rate                                                 2.390%




                                                                                                                                          Total of Outstanding
                                                                                                                                          Principal and Interest
       Date           Interest Accrual       Interest Paid     Accrued Interest    Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
           5/2/2019                                                                                                        2,400,000.00
         5/31/2019           4,557.37                                  4,557.37     2,400,000.00                           2,400,000.00
         6/30/2019           4,714.52                                  9,271.89     2,400,000.00                           2,400,000.00
         7/31/2019           4,871.67                                 14,143.56     2,400,000.00                           2,400,000.00
         8/31/2019           4,871.67                                 19,015.23     2,400,000.00                           2,400,000.00
         9/30/2019           4,714.52                                 23,729.75     2,400,000.00                           2,400,000.00
        10/15/2019           2,357.26                                 26,087.01     2,400,000.00                           2,400,000.00
        10/31/2019           2,514.41                                 28,601.42     2,400,000.00                           2,400,000.00
        11/30/2019           4,714.52                                 33,315.95     2,400,000.00                           2,400,000.00
        12/31/2019           4,871.67                                 38,187.62     2,400,000.00                           2,400,000.00
         1/31/2020           4,871.67                                 43,059.29     2,400,000.00                           2,400,000.00
         2/29/2020           4,557.37                                 47,616.66     2,400,000.00                           2,400,000.00
         3/31/2020           4,871.67                                 52,488.33     2,400,000.00                           2,400,000.00
         4/30/2020           4,714.52                                 57,202.85     2,400,000.00                           2,400,000.00
           5/2/2020            314.30            (57,517.15)               0.00     2,400,000.00           57,517.15       2,457,517.15                                         ‐   *Annual Compound Interest
         5/31/2020           4,666.59                                  4,666.59     2,457,517.15                           2,457,517.15
         6/30/2020           4,827.51                                  9,494.10     2,457,517.15                           2,457,517.15
         7/31/2020           4,988.42                                 14,482.52     2,457,517.15                           2,457,517.15
         8/31/2020           4,988.42                                 19,470.94     2,457,517.15                           2,457,517.15
         9/30/2020           4,827.51                                 24,298.45     2,457,517.15                           2,457,517.15
        10/31/2020           4,988.42                                 29,286.87     2,457,517.15                           2,457,517.15
        11/30/2020           4,827.51                                 34,114.38     2,457,517.15                           2,457,517.15
        12/31/2020           4,988.42                                 39,102.80     2,457,517.15                           2,457,517.15
         1/31/2021           4,988.42                                 44,091.22     2,457,517.15                           2,457,517.15
         2/28/2021           4,505.67                                 48,596.90     2,457,517.15                           2,457,517.15
         3/31/2021           4,988.42                                 53,585.32     2,457,517.15                           2,457,517.15
         4/30/2021           4,827.51                                 58,412.83     2,457,517.15                           2,457,517.15
           5/2/2021            321.83            (58,734.66)                ‐       2,457,517.15           58,734.66       2,516,251.81                                         ‐   *Annual Compound Interest
         5/31/2021           4,778.12                                  4,778.12     2,516,251.81                           2,516,251.81
         6/30/2021           4,942.88                                  9,721.00     2,516,251.81                           2,516,251.81
         7/31/2021           5,107.65                                 14,828.65     2,516,251.81                           2,516,251.81
         8/31/2021           5,107.65                                 19,936.30     2,516,251.81                           2,516,251.81
         9/30/2021           4,942.88                                 24,879.18     2,516,251.81                           2,516,251.81
        10/31/2021           5,107.65                                 29,986.83     2,516,251.81                           2,516,251.81
        12/17/2021           7,743.85                                 37,730.68     2,516,251.81                           2,516,251.81          2,553,982.49
        12/31/2021           2,306.68            (40,037.36)              (0.00)    2,516,251.81                           2,516,251.81                                (40,037.36) Interest
         1/31/2022           5,107.65                                  5,107.64     2,516,251.81                           2,516,251.81
         2/28/2022           4,613.36                                  9,721.00     2,516,251.81                           2,516,251.81
         3/31/2022           5,107.65                                 14,828.65     2,516,251.81                           2,516,251.81
         4/30/2022           4,942.88                                 19,771.53     2,516,251.81                           2,516,251.81
           5/2/2022            329.53            (20,101.06)                ‐       2,516,251.81           20,101.06       2,536,352.87                                         ‐   *Annual Compound Interest
         5/31/2022           4,816.29                                  4,816.29     2,536,352.87                           2,536,352.87
         6/30/2022           4,982.37                                  9,798.66     2,536,352.87                           2,536,352.87
         7/31/2022           5,148.45                                 14,947.11     2,536,352.87                           2,536,352.87
           8/8/2022          1,328.63                                 16,275.74     2,536,352.87                           2,536,352.87          2,552,628.61
         9/30/2022           8,802.19                                 25,077.93     2,536,352.87                           2,536,352.87
        10/31/2022           5,148.45                                 30,226.38     2,536,352.87                           2,536,352.87
        11/30/2022           4,982.37                                 35,208.75     2,536,352.87                           2,536,352.87
        12/31/2022           5,148.45                                 40,357.20     2,536,352.87                           2,536,352.87
         1/31/2023           5,148.45                                 45,505.64     2,536,352.87                           2,536,352.87
         2/28/2023           4,650.21                                 50,155.86     2,536,352.87                           2,536,352.87
         3/31/2023           5,148.45                                 55,304.31     2,536,352.87                           2,536,352.87
         4/30/2023           4,982.37                                 60,286.68     2,536,352.87                           2,536,352.87
           5/2/2023            332.16            (60,618.83)                ‐       2,536,352.87           60,618.83       2,596,971.70                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 22 of 48




                                EXHIBIT F
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                Entered 08/05/22 21:37:01                              Page 23 of 48


HCMFA #7


Closing Date                                        5/3/2019
Total Commitment                         $        5,000,000
Rate                                                 2.390%




                                                                                                                                         Total of Outstanding
                                                                                                                                         Principal and Interest
       Date           Interest Accrual       Interest Paid     Accrued Interest   Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
           5/3/2019                                                                                                       5,000,000.00
         5/31/2019           9,167.12                                 9,167.12     5,000,000.00                           5,000,000.00
         6/30/2019           9,821.92                                18,989.04     5,000,000.00                           5,000,000.00
         7/31/2019          10,149.32                                29,138.36     5,000,000.00                           5,000,000.00
         8/31/2019          10,149.32                                39,287.67     5,000,000.00                           5,000,000.00
         9/30/2019           9,821.92                                49,109.59     5,000,000.00                           5,000,000.00
        10/15/2019           4,910.96                                54,020.55     5,000,000.00                           5,000,000.00
        10/31/2019           5,238.36                                59,258.90     5,000,000.00                           5,000,000.00
        11/30/2019           9,821.92                                69,080.82     5,000,000.00                           5,000,000.00
        12/31/2019          10,149.32                                79,230.14     5,000,000.00                           5,000,000.00
         1/31/2020          10,149.32                                89,379.45     5,000,000.00                           5,000,000.00
         2/29/2020           9,494.52                                98,873.97     5,000,000.00                           5,000,000.00
         3/31/2020          10,149.32                               109,023.29     5,000,000.00                           5,000,000.00
         4/30/2020           9,821.92                               118,845.21     5,000,000.00                           5,000,000.00
           5/3/2020            982.19           (119,827.40)             (0.00)    5,000,000.00          119,827.40       5,119,827.40                                         ‐   *Annual Compound Interest
         5/31/2020           9,386.82                                 9,386.82     5,119,827.40                           5,119,827.40
         6/30/2020          10,057.30                                19,444.12     5,119,827.40                           5,119,827.40
         7/31/2020          10,392.55                                29,836.67     5,119,827.40                           5,119,827.40
         8/31/2020          10,392.55                                40,229.22     5,119,827.40                           5,119,827.40
         9/30/2020          10,057.30                                50,286.52     5,119,827.40                           5,119,827.40
        10/31/2020          10,392.55                                60,679.07     5,119,827.40                           5,119,827.40
        11/30/2020          10,057.30                                70,736.37     5,119,827.40                           5,119,827.40
        12/31/2020          10,392.55                                81,128.92     5,119,827.40                           5,119,827.40
         1/31/2021          10,392.55                                91,521.47     5,119,827.40                           5,119,827.40
         2/28/2021           9,386.82                               100,908.29     5,119,827.40                           5,119,827.40
         3/31/2021          10,392.55                               111,300.84     5,119,827.40                           5,119,827.40
         4/30/2021          10,057.30                               121,358.14     5,119,827.40                           5,119,827.40
           5/3/2021          1,005.73           (122,363.87)               ‐       5,119,827.40          122,363.87       5,242,191.27                                         ‐   *Annual Compound Interest
         5/31/2021           9,611.16                                 9,611.16     5,242,191.27                           5,242,191.27
         6/30/2021          10,297.67                                19,908.84     5,242,191.27                           5,242,191.27
         7/31/2021          10,640.93                                30,549.77     5,242,191.27                           5,242,191.27
         8/31/2021          10,640.93                                41,190.70     5,242,191.27                           5,242,191.27
         9/30/2021          10,297.67                                51,488.37     5,242,191.27                           5,242,191.27
        10/31/2021          10,640.93                                62,129.30     5,242,191.27                           5,242,191.27
        12/17/2021          16,133.02                                78,262.33     5,242,191.27                           5,242,191.27          5,320,453.60
        12/31/2021           4,805.58            (83,053.85)             14.06     5,242,191.27                           5,242,191.27                                (83,053.85) Interest
         1/31/2022          10,640.93                                10,654.99     5,242,191.27                           5,242,191.27
         2/28/2022           9,611.16                                20,266.15     5,242,191.27                           5,242,191.27
         3/31/2022          10,640.93                                30,907.08     5,242,191.27                           5,242,191.27
         4/30/2022          10,297.67                                41,204.75     5,242,191.27                           5,242,191.27
           5/3/2022          1,029.77            (42,234.52)               ‐       5,242,191.27           42,234.52       5,284,425.79                                         ‐   *Annual Compound Interest
         5/31/2022           9,688.60                                 9,688.60     5,284,425.79                           5,284,425.79
         6/30/2022          10,380.64                                20,069.24     5,284,425.79                           5,284,425.79
         7/31/2022          10,726.66                                30,795.90     5,284,425.79                           5,284,425.79
           8/8/2022          2,768.17                                33,564.07     5,284,425.79                           5,284,425.79          5,317,989.86
         9/30/2022          18,339.13                                51,903.20     5,284,425.79                           5,284,425.79
        10/31/2022          10,726.66                                62,629.86     5,284,425.79                           5,284,425.79
        11/30/2022          10,380.64                                73,010.50     5,284,425.79                           5,284,425.79
        12/31/2022          10,726.66                                83,737.16     5,284,425.79                           5,284,425.79
         1/31/2023          10,726.66                                94,463.82     5,284,425.79                           5,284,425.79
         2/28/2023           9,688.60                               104,152.41     5,284,425.79                           5,284,425.79
         3/31/2023          10,726.66                               114,879.07     5,284,425.79                           5,284,425.79
         4/30/2023          10,380.64                               125,259.71     5,284,425.79                           5,284,425.79
           5/3/2023          1,038.06           (126,297.78)               ‐       5,284,425.79          126,297.78       5,410,723.57                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 24 of 48




                               EXHIBIT G
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                 Entered 08/05/22 21:37:01                              Page 25 of 48


HCMSI #46


Closing Date                                      3/26/2018
Total Commitment                         $          150,000
Rate                                                 2.880%




                                                                                                                                           Total of Outstanding
                                                                                                                                          Principal and Interest
       Date           Interest Accrual       Interest Paid      Accrued Interest   Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
          3/26/2018                                                                                                          150,000.00
          3/31/2018             59.18                                      59.18      150,000.00                             150,000.00
          4/30/2018            355.07                                     414.25      150,000.00                             150,000.00
          5/31/2018            366.90                                     781.15      150,000.00                             150,000.00
          6/30/2018            355.07                                   1,136.22      150,000.00                             150,000.00
          7/31/2018            366.90                                   1,503.12      150,000.00                             150,000.00
          8/31/2018            366.90                                   1,870.03      150,000.00                             150,000.00
          9/30/2018            355.07                                   2,225.10      150,000.00                             150,000.00
        10/31/2018             366.90                                   2,592.00      150,000.00                             150,000.00
        11/30/2018             355.07                                   2,947.07      150,000.00                             150,000.00
        12/31/2018             366.90                                   3,313.97      150,000.00                             150,000.00
          1/31/2019            366.90                                   3,680.88      150,000.00                             150,000.00
          2/28/2019            331.40                                   4,012.27      150,000.00                             150,000.00
          3/26/2019            307.73              (4,320.00)                ‐        150,000.00            4,320.00         154,320.00                                         ‐   *Annual Compound Interest
          3/31/2019             60.88                                      60.88      154,320.00                             154,320.00
          4/30/2019            365.29                                     426.18      154,320.00                             154,320.00
          5/31/2019            377.47                                     803.65      154,320.00                             154,320.00
          6/30/2019            365.29                                   1,168.94      154,320.00                             154,320.00
          7/31/2019            377.47                                   1,546.41      154,320.00                             154,320.00
          8/31/2019            377.47                                   1,923.88      154,320.00                             154,320.00
          9/30/2019            365.29                                   2,289.18      154,320.00                             154,320.00
        10/15/2019             182.65                                   2,471.83      154,320.00                             154,320.00
        10/31/2019             194.82                                   2,666.65      154,320.00                             154,320.00
        11/30/2019             365.29                                   3,031.94      154,320.00                             154,320.00
        12/31/2019             377.47                                   3,409.42      154,320.00                             154,320.00
          1/31/2020            377.47                                   3,786.89      154,320.00                             154,320.00
          2/29/2020            353.12                                   4,140.00      154,320.00                             154,320.00
          3/26/2020            316.59              (4,456.59)               0.00      154,320.00            4,456.59         158,776.59                                         ‐   *Annual Compound Interest
          3/31/2020             62.64                                      62.64      158,776.59                             158,776.59
          4/30/2020            375.84                                     438.49      158,776.59                             158,776.59
          5/31/2020            388.37                                     826.86      158,776.59                             158,776.59
          6/30/2020            375.84                                   1,202.70      158,776.59                             158,776.59
          7/31/2020            388.37                                   1,591.07      158,776.59                             158,776.59
          8/31/2020            388.37                                   1,979.45      158,776.59                             158,776.59
          9/30/2020            375.84                                   2,355.29      158,776.59                             158,776.59
        10/31/2020             388.37                                   2,743.66      158,776.59                             158,776.59
        11/30/2020             375.84                                   3,119.51      158,776.59                             158,776.59
        12/31/2020             388.37                                   3,507.88      158,776.59                             158,776.59
          1/31/2021            388.37                                   3,896.25      158,776.59                             158,776.59
          2/28/2021            350.79                                   4,247.04      158,776.59                             158,776.59
          3/26/2021            325.73              (4,572.77)                ‐        158,776.59            4,572.77         163,349.36                                         ‐   *Annual Compound Interest
          3/31/2021             64.44                                      64.44      163,349.36                             163,349.36
          4/30/2021            386.67                                     451.11      163,349.36                             163,349.36
          5/31/2021            399.56                                     850.67      163,349.36                             163,349.36
          6/30/2021            386.67                                   1,237.34      163,349.36                             163,349.36
          7/31/2021            399.56                                   1,636.89      163,349.36                             163,349.36
          8/31/2021            399.56                                   2,036.45      163,349.36                             163,349.36
          9/30/2021            386.67                                   2,423.12      163,349.36                             163,349.36
        10/31/2021             399.56                                   2,822.68      163,349.36                             163,349.36
        12/17/2021             605.78                                   3,428.46      163,349.36                             163,349.36            166,777.82
        12/31/2021             180.45              (3,608.90)               0.00      163,349.36                             163,349.36                                 (3,608.90) Interest
          1/31/2022            399.56                                     399.56      163,349.36                             163,349.36
          2/28/2022            360.89                                     760.45      163,349.36                             163,349.36
          3/26/2022            335.11              (1,095.56)                ‐        163,349.36            1,095.56         164,444.92                                         ‐   *Annual Compound Interest
          3/31/2022             64.88                                      64.88      164,444.92                             164,444.92
          4/30/2022            389.26                                     454.14      164,444.92                             164,444.92
          5/31/2022            402.24                                     856.38      164,444.92                             164,444.92
          6/30/2022            389.26                                   1,245.64      164,444.92                             164,444.92
          7/31/2022            402.24                                   1,647.87      164,444.92                             164,444.92
           8/8/2022            103.80                                   1,751.68      164,444.92                             164,444.92            166,196.60
          9/30/2022            687.70                                   2,439.37      164,444.92                             164,444.92
        10/31/2022             402.24                                   2,841.61      164,444.92                             164,444.92
        11/30/2022             389.26                                   3,230.87      164,444.92                             164,444.92
        12/31/2022             402.24                                   3,633.11      164,444.92                             164,444.92
          1/31/2023            402.24                                   4,035.34      164,444.92                             164,444.92
          3/26/2023            700.67              (4,736.01)                ‐        164,444.92            4,736.01         169,180.93                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 26 of 48




                               EXHIBIT H
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                   Entered 08/05/22 21:37:01                              Page 27 of 48


HCMSI #47


Closing Date                                        6/25/2018
Total Commitment                          $          200,000
Rate                                                  3.050%




                                                                                                                                            Total of Outstanding
                                                                                                                                            Principal and Interest
        Date           Interest Accrual       Interest Paid      Accrued Interest    Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
          6/25/2018                                                                                                            200,000.00
          6/30/2018              83.56                                      83.56       200,000.00                             200,000.00
          7/31/2018             518.08                                     601.64       200,000.00                             200,000.00
          8/31/2018             518.08                                   1,119.73       200,000.00                             200,000.00
          9/30/2018             501.37                                   1,621.10       200,000.00                             200,000.00
         10/31/2018             518.08                                   2,139.18       200,000.00                             200,000.00
         11/30/2018             501.37                                   2,640.55       200,000.00                             200,000.00
         12/31/2018             518.08                                   3,158.63       200,000.00                             200,000.00
          1/31/2019             518.08                                   3,676.71       200,000.00                             200,000.00
          2/28/2019             467.95                                   4,144.66       200,000.00                             200,000.00
          3/31/2019             518.08                                   4,662.74       200,000.00                             200,000.00
          4/30/2019             501.37                                   5,164.11       200,000.00                             200,000.00
          5/31/2019             518.08                                   5,682.19       200,000.00                             200,000.00
          6/25/2019             417.81              (6,100.00)                ‐         200,000.00            6,100.00         206,100.00                                         ‐   *Annual Compound Interest
          6/30/2019              86.11                                      86.11       206,100.00                             206,100.00
          7/31/2019             533.88                                     619.99       206,100.00                             206,100.00
          8/31/2019             533.88                                   1,153.88       206,100.00                             206,100.00
          9/30/2019             516.66                                   1,670.54       206,100.00                             206,100.00
         10/15/2019             258.33                                   1,928.87       206,100.00                             206,100.00
         10/31/2019             275.55                                   2,204.42       206,100.00                             206,100.00
         11/30/2019             516.66                                   2,721.08       206,100.00                             206,100.00
         12/31/2019             533.88                                   3,254.97       206,100.00                             206,100.00
          1/31/2020             533.88                                   3,788.85       206,100.00                             206,100.00
          2/29/2020             499.44                                   4,288.29       206,100.00                             206,100.00
          3/31/2020             533.88                                   4,822.18       206,100.00                             206,100.00
          4/30/2020             516.66                                   5,338.84       206,100.00                             206,100.00
          5/31/2020             533.88                                   5,872.72       206,100.00                             206,100.00
          6/25/2020             430.55              (6,303.27)               0.00       206,100.00            6,303.27         212,403.27                                         ‐   *Annual Compound Interest
          6/30/2020              88.74                                      88.75       212,403.27                             212,403.27
          7/31/2020             550.21                                     638.96       212,403.27                             212,403.27
          8/31/2020             550.21                                   1,189.17       212,403.27                             212,403.27
          9/30/2020             532.46                                   1,721.63       212,403.27                             212,403.27
         10/31/2020             550.21                                   2,271.84       212,403.27                             212,403.27
         11/30/2020             532.46                                   2,804.31       212,403.27                             212,403.27
         12/31/2020             550.21                                   3,354.52       212,403.27                             212,403.27
          1/31/2021             550.21                                   3,904.73       212,403.27                             212,403.27
          2/28/2021             496.97                                   4,401.70       212,403.27                             212,403.27
          3/31/2021             550.21                                   4,951.91       212,403.27                             212,403.27
          4/30/2021             532.46                                   5,484.37       212,403.27                             212,403.27
          5/31/2021             550.21                                   6,034.58       212,403.27                             212,403.27
          6/25/2021             443.72              (6,478.30)                ‐         212,403.27            6,478.30         218,881.57                                         ‐   *Annual Compound Interest
          6/30/2021              91.45                                      91.45       218,881.57                             218,881.57
          7/31/2021             566.99                                     658.44       218,881.57                             218,881.57
          8/31/2021             566.99                                   1,225.44       218,881.57                             218,881.57
          9/30/2021             548.70                                   1,774.14       218,881.57                             218,881.57
         10/31/2021             566.99                                   2,341.13       218,881.57                             218,881.57
         12/17/2021             859.63                                   3,200.77       218,881.57                             218,881.57            222,082.34
         12/31/2021             256.06              (3,456.83)              (0.00)      218,881.57                             218,881.57                                  (3,456.83) Interest
          1/31/2022             566.99                                     566.99       218,881.57                             218,881.57
          2/28/2022             512.12                                   1,079.12       218,881.57                             218,881.57
          3/31/2022             566.99                                   1,646.11       218,881.57                             218,881.57
          4/30/2022             548.70                                   2,194.81       218,881.57                             218,881.57
          5/31/2022             566.99                                   2,761.81       218,881.57                             218,881.57
          6/25/2022             457.25              (3,219.06)                ‐         218,881.57            3,219.06         222,100.63                                         ‐   *Annual Compound Interest
          6/30/2022              92.80                                      92.80       222,100.63                             222,100.63
          7/31/2022             575.33                                     668.13       222,100.63                             222,100.63
            8/8/2022            148.47                                     816.60       222,100.63                             222,100.63            222,917.23
          9/30/2022             983.63                                   1,800.23       222,100.63                             222,100.63
         10/31/2022             575.33                                   2,375.56       222,100.63                             222,100.63
         11/30/2022             556.77                                   2,932.34       222,100.63                             222,100.63
         12/31/2022             575.33                                   3,507.67       222,100.63                             222,100.63
          1/31/2023             575.33                                   4,083.00       222,100.63                             222,100.63
          2/28/2023             519.65                                   4,602.66       222,100.63                             222,100.63
          3/31/2023             575.33                                   5,177.99       222,100.63                             222,100.63
          4/30/2023             556.77                                   5,734.76       222,100.63                             222,100.63
          5/31/2023             575.33                                   6,310.09       222,100.63                             222,100.63
          6/25/2023             463.98              (6,774.07)                ‐         222,100.63            6,774.07         228,874.70                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 28 of 48




                                EXHIBIT I
                Case 21-03006-sgj Doc 221 Filed 08/05/22                                     Entered 08/05/22 21:37:01                                Page 29 of 48


HCMSI #48


Closing Date                             5/29/2019
Total Commitment                     $   400,000
Rate                                       2.390%



                                                                                                                          Total of
                                                                                                                       Outstanding
                                                                                                                       Principal and
                                                                                                                     Interest (selected
       Date        Interest Accrual Interest Paid Accrued Interest   Beg Prin Bal   Principal Paid   Ending Prin Bal       dates)         Total Paid
         5/29/2019                                                                                       400,000.00
         5/31/2019            52.38                         52.38      400,000.00                        400,000.00
         6/30/2019           785.75                        838.14      400,000.00                        400,000.00
         7/31/2019           811.95                      1,650.08      400,000.00                        400,000.00
         8/31/2019           811.95                      2,462.03      400,000.00                        400,000.00
         9/30/2019           785.75                      3,247.78      400,000.00                        400,000.00
        10/15/2019           392.88                      3,640.66      400,000.00                        400,000.00
        10/31/2019           419.07                      4,059.73      400,000.00                        400,000.00
        11/30/2019           785.75                      4,845.48      400,000.00                        400,000.00
        12/31/2019           811.95                      5,657.42      400,000.00                        400,000.00
         1/31/2020           811.95                      6,469.37      400,000.00                        400,000.00
         2/29/2020           759.56                      7,228.93      400,000.00                        400,000.00
         3/31/2020           811.95                      8,040.88      400,000.00                        400,000.00
         4/30/2020           785.75                      8,826.63      400,000.00                        400,000.00
         5/29/2020           759.56    (9,586.19)            0.00      400,000.00       9,586.19         409,586.19                               ‐     *Annual Compound Interest
         5/31/2020            53.64                         53.64      409,586.19                        409,586.19
         6/30/2020           804.58                        858.23      409,586.19                        409,586.19
         7/31/2020           831.40                      1,689.63      409,586.19                        409,586.19
         8/31/2020           831.40                      2,521.03      409,586.19                        409,586.19
         9/30/2020           804.58                      3,325.62      409,586.19                        409,586.19
        10/31/2020           831.40                      4,157.02      409,586.19                        409,586.19
        11/30/2020           804.58                      4,961.61      409,586.19                        409,586.19
        12/31/2020           831.40                      5,793.01      409,586.19                        409,586.19
         1/31/2021           831.40                      6,624.41      409,586.19                        409,586.19
         2/28/2021           750.95                      7,375.36      409,586.19                        409,586.19
         3/31/2021           831.40                      8,206.76      409,586.19                        409,586.19
         4/30/2021           804.58                      9,011.35      409,586.19                        409,586.19
         5/29/2021           777.76    (9,789.11)              ‐       409,586.19       9,789.11         419,375.30                               ‐     *Annual Compound Interest
         5/31/2021            54.92                         54.92      419,375.30                        419,375.30
         6/30/2021           823.81                        878.73      419,375.30                        419,375.30
         7/31/2021           851.27                      1,730.01      419,375.30                        419,375.30
         8/31/2021           851.27                      2,581.28      419,375.30                        419,375.30
         9/30/2021           823.81                      3,405.10      419,375.30                        419,375.30
        10/31/2021           851.27                      4,256.37      419,375.30                        419,375.30
        12/17/2021         1,290.64                      5,547.01      419,375.30                        419,375.30       424,922.32
        12/31/2021           384.45    (5,931.46)            0.00      419,375.30                        419,375.30                          (5,931.46) Interest
         1/31/2022           851.27                        851.27      419,375.30                        419,375.30
         2/28/2022           768.89                      1,620.17      419,375.30                        419,375.30
         3/31/2022           851.27                      2,471.44      419,375.30                        419,375.30
         4/30/2022           823.81                      3,295.26      419,375.30                        419,375.30
         5/29/2022           796.35    (4,091.61)              ‐       419,375.30       4,091.61         423,466.91                               ‐     *Annual Compound Interest
         5/31/2022            55.46                         55.46      423,466.91                        423,466.91
         6/30/2022           831.85                        887.31      423,466.91                        423,466.91
         7/31/2022           859.58                      1,746.89      423,466.91                        423,466.91
          8/8/2022           221.83                      1,968.72      423,466.91                        423,466.91       425,435.63
         9/30/2022         1,469.60                      3,438.32      423,466.91                        423,466.91
        10/31/2022           859.58                      4,297.90      423,466.91                        423,466.91
        11/30/2022           831.85                      5,129.75      423,466.91                        423,466.91
        12/31/2022           859.58                      5,989.33      423,466.91                        423,466.91
         1/31/2023           859.58                      6,848.91      423,466.91                        423,466.91
         2/28/2023           776.39                      7,625.30      423,466.91                        423,466.91
         3/31/2023           859.58                      8,484.88      423,466.91                        423,466.91
         4/30/2023           831.85                      9,316.74      423,466.91                        423,466.91
         5/29/2023           804.12   (10,120.86)              ‐       423,466.91      10,120.86         433,587.77                               ‐     *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 30 of 48




                                EXHIBIT J
               Case 21-03006-sgj Doc 221 Filed 08/05/22                                    Entered 08/05/22 21:37:01                           Page 31 of 48


HCMSI #49

Closing Date                           6/26/2019
Total Commitment                     $   150,000
Rate                                      2.370%
Note:                               Payable On Demand; compounded annually on anniversary date


                                                                                                                           Total of
                                                                                                                        Outstanding
                                                                                                                        Principal and
                                                                                                                      Interest (selected
       Date        Interest Accrual Interest Paid Accrued Interest    Beg Prin Bal   Principal Paid   Ending Prin Bal       dates)         Total Paid
         6/26/2019                                                                                       150,000.00
         6/30/2019           38.96                          38.96       150,000.00                       150,000.00
         7/31/2019          301.93                         340.89       150,000.00                       150,000.00
         8/31/2019          301.93                         642.82       150,000.00                       150,000.00
         9/30/2019          292.19                         935.01       150,000.00                       150,000.00
        10/15/2019          146.10                       1,081.11       150,000.00                       150,000.00
        10/31/2019          155.84                       1,236.95       150,000.00                       150,000.00
        11/30/2019          292.19                       1,529.14       150,000.00                       150,000.00
        12/31/2019          301.93                       1,831.07       150,000.00                       150,000.00
         1/31/2020          301.93                       2,133.00       150,000.00                       150,000.00
         2/29/2020          282.45                       2,415.45       150,000.00                       150,000.00
         3/31/2020          301.93                       2,717.38       150,000.00                       150,000.00
         4/30/2020          292.19                       3,009.58       150,000.00                       150,000.00
         5/31/2020          301.93                       3,311.51       150,000.00                       150,000.00
         6/26/2020          253.23     (3,564.74)            (0.00)     150,000.00       3,564.74        153,564.74                                ‐    Annual Compound Interest
         6/30/2020           39.88                          39.88       153,564.74                       153,564.74
         7/31/2020          309.11                         348.99       153,564.74                       153,564.74
         8/31/2020          309.11                         658.10       153,564.74                       153,564.74
         9/30/2020          299.14                         957.23       153,564.74                       153,564.74
        10/31/2020          309.11                       1,266.34       153,564.74                       153,564.74
        11/30/2020          299.14                       1,565.48       153,564.74                       153,564.74
        12/31/2020          309.11                       1,874.58       153,564.74                       153,564.74
         1/31/2021          309.11                       2,183.69       153,564.74                       153,564.74
         2/28/2021          279.19                       2,462.88       153,564.74                       153,564.74
         3/31/2021          309.11                       2,771.99       153,564.74                       153,564.74
         4/30/2021          299.14                       3,071.13       153,564.74                       153,564.74
         5/31/2021          309.11                       3,380.23       153,564.74                       153,564.74
         6/26/2021          259.25     (3,639.48)              ‐        153,564.74       3,639.48        157,204.22                                ‐    Annual Compound Interest
         6/30/2021           40.83                          40.83       157,204.22                       157,204.22
         7/31/2021          316.43                         357.26       157,204.22                       157,204.22
         8/31/2021          316.43                         673.70       157,204.22                       157,204.22
         9/30/2021          306.23                         979.92       157,204.22                       157,204.22
        10/31/2021          316.43                       1,296.35       157,204.22                       157,204.22
        12/17/2021          479.75                       1,776.11       157,204.22                       157,204.22        158,980.33
        12/31/2021          142.91     (1,919.01)             0.00      157,204.22                       157,204.22                          (1,919.01) Interest
         1/31/2022          316.43                         316.43       157,204.22                       157,204.22
         2/28/2022          285.81                         602.24       157,204.22                       157,204.22
         3/31/2022          316.43                         918.68       157,204.22                       157,204.22
         4/30/2022          306.23                       1,224.90       157,204.22                       157,204.22
         5/31/2022          316.43                       1,541.33       157,204.22                       157,204.22
         6/26/2022          265.40     (1,806.73)              ‐        157,204.22       1,806.73        159,010.95                                ‐    Annual Compound Interest
         6/30/2022           41.30                          41.30       159,010.95                       159,010.95
         7/31/2022          320.07                         361.37       159,010.95                       159,010.95
          8/8/2022           82.60                         443.97       159,010.95                       159,010.95        159,454.92
         9/30/2022          547.22                         991.18       159,010.95                       159,010.95
        10/31/2022          320.07                       1,311.25       159,010.95                       159,010.95
        11/30/2022          309.74                       1,621.00       159,010.95                       159,010.95
        12/31/2022          320.07                       1,941.07       159,010.95                       159,010.95
         1/31/2023          320.07                       2,261.14       159,010.95                       159,010.95
         2/28/2023          289.09                       2,550.23       159,010.95                       159,010.95
         3/31/2023          320.07                       2,870.30       159,010.95                       159,010.95
         4/30/2023          309.74                       3,180.04       159,010.95                       159,010.95
         5/31/2023          320.07                       3,500.11       159,010.95                       159,010.95
         6/26/2023          268.45     (3,768.56)              ‐        159,010.95       3,768.56        162,779.51                                ‐    Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 32 of 48




                               EXHIBIT K
                      Case 21-03006-sgj Doc 221 Filed 08/05/22                                                                Entered 08/05/22 21:37:01                                                Page 33 of 48


HCMSI Term


Closing Date                                       5/31/2017
Total Commitment                         $       20,247,628    $    674,920.93
Rate                                                 2.750%




                                                                                                                                          Total of Outstanding
                                                                                                                                          Principal and Interest
       Date           Interest Accrual       Interest Paid     Accrued Interest   Beg Prin Bal    Principal Paid       Ending Prin Bal       (selected dates)      Total Paid
         5/31/2017                                                                                                        20,247,628.02
         5/31/2017                ‐                                        ‐      20,247,628.02                           20,247,628.02
         6/23/2017          35,086.64            (35,086.64)               ‐      20,247,628.02         (950,129.80)      19,297,498.22                               (985,216.44)
         6/30/2017          10,177.45                                10,177.45    19,297,498.22                           19,297,498.22                                       ‐
           7/6/2017          8,723.53            (18,900.97)               ‐      19,297,498.22         (888,395.28)      18,409,102.95                               (907,296.25)
         7/18/2017          16,643.85            (16,643.85)              0.00    18,409,102.95       (1,014,819.85)      17,394,283.10                             (1,031,463.70)
         7/31/2017          17,036.87                                17,036.87    17,394,283.10                           17,394,283.10                                       ‐
         8/25/2017          32,763.20           (199,329.33)       (149,529.26)   17,394,283.10       (1,771,930.80)      15,622,352.30                             (1,971,260.13)
         8/31/2017           7,062.16                              (142,467.10)   15,622,352.30                           15,622,352.30                                       ‐
         9/30/2017          35,310.80                              (107,156.30)   15,622,352.30                           15,622,352.30                                       ‐
        10/31/2017          36,487.82                               (70,668.48)   15,622,352.30                           15,622,352.30                                       ‐
        11/30/2017          35,310.80                               (35,357.68)   15,622,352.30                           15,622,352.30                                       ‐
        12/21/2017          24,717.56                               (10,640.13)   15,622,352.30       (1,500,000.00)      14,122,352.30                             (1,500,000.00)
        12/31/2017          10,640.13                                     0.00    14,122,352.30                           14,122,352.30                                       ‐
         1/31/2018          32,984.40                                32,984.40    14,122,352.30                           14,122,352.30                                       ‐
         2/28/2018          29,792.36                                62,776.76    14,122,352.30                           14,122,352.30                                       ‐
         3/31/2018          32,984.40                                95,761.16    14,122,352.30                           14,122,352.30                                       ‐
         4/30/2018          31,920.39                               127,681.54    14,122,352.30                           14,122,352.30                                       ‐
         5/31/2018          32,984.40           (160,665.94)              0.00    14,122,352.30          160,665.94       14,283,018.24                                       ‐      Annual Compound Interest
         6/30/2018          32,283.53                                32,283.54    14,283,018.24                           14,283,018.24                                       ‐
         7/31/2018          33,359.65                                65,643.19    14,283,018.24                           14,283,018.24                                       ‐
         8/31/2018          33,359.65                                99,002.84    14,283,018.24                           14,283,018.24                                       ‐
         9/30/2018          32,283.53                               131,286.37    14,283,018.24                           14,283,018.24                                       ‐
         10/8/2018           8,608.94           (412,000.00)       (272,104.68)   14,283,018.24         (588,000.00)      13,695,018.24                             (1,000,000.00)   Principal and interest
        10/31/2018          23,731.78                              (248,372.91)   13,695,018.24                           13,695,018.24                                       ‐
        11/30/2018          30,954.49                              (217,418.41)   13,695,018.24                           13,695,018.24                                       ‐
        12/31/2018          31,986.31                              (185,432.10)   13,695,018.24                           13,695,018.24                                       ‐
         1/31/2019          31,986.31                              (153,445.79)   13,695,018.24                           13,695,018.24                                       ‐
         2/28/2019          28,890.86                              (124,554.93)   13,695,018.24                           13,695,018.24                                       ‐
           3/5/2019          5,159.08            (37,904.91)       (157,300.76)   13,695,018.24         (977,095.09)      12,717,923.15                             (1,015,000.00)   Principal and interest
         3/31/2019          24,913.19                              (132,387.57)   12,717,923.15                           12,717,923.15                                       ‐
         4/30/2019          28,745.99                              (103,641.58)   12,717,923.15                           12,717,923.15                                       ‐
         5/31/2019          29,704.19                               (73,937.39)   12,717,923.15                           12,717,923.15                                       ‐
         6/30/2019          28,745.99                               (45,191.40)   12,717,923.15                           12,717,923.15                                       ‐
         7/31/2019          29,704.19                               (15,487.21)   12,717,923.15                           12,717,923.15                                       ‐
           8/9/2019          8,623.80                                (6,863.41)   12,717,923.15         (550,000.00)      12,167,923.15                               (550,000.00)   Principal
         8/21/2019          11,001.14             (4,137.73)             (0.00)   12,167,923.15       (5,595,862.27)       6,572,060.88                             (5,600,000.00)   Principal and interest
         8/31/2019           4,951.55                                 4,951.55     6,572,060.88                            6,572,060.88                                       ‐
         9/30/2019          14,854.66                                19,806.21     6,572,060.88                            6,572,060.88                                       ‐
        10/15/2019           7,427.33                                27,233.54     6,572,060.88                            6,572,060.88
        10/31/2019           7,922.48                                35,156.02     6,572,060.88                            6,572,060.88                                       ‐
        11/30/2019          14,854.66                                50,010.68     6,572,060.88                            6,572,060.88                                       ‐
        12/30/2019          14,854.66            (65,360.49)           (495.15)    6,572,060.88                            6,572,060.88                                (65,360.49)   Interest
        12/31/2019             495.16                                     0.00     6,572,060.88                            6,572,060.88                                       ‐
         1/31/2020          15,349.81                                15,349.82     6,572,060.88                            6,572,060.88                                       ‐
         2/29/2020          14,359.50                                29,709.32     6,572,060.88                            6,572,060.88                                       ‐
         3/31/2020          15,349.81                                45,059.13     6,572,060.88                            6,572,060.88                                       ‐
         4/30/2020          14,854.66                                59,913.79     6,572,060.88                            6,572,060.88                                       ‐
         5/31/2020          15,349.81            (75,263.60)               ‐       6,572,060.88           75,263.60        6,647,324.48                                       ‐      Annual Compound Interest
         6/30/2020          15,024.77                                15,024.77     6,647,324.48                            6,647,324.48                                       ‐
         7/31/2020          15,525.60                                30,550.37     6,647,324.48                            6,647,324.48                                       ‐
         8/31/2020          15,525.60                                46,075.98     6,647,324.48                            6,647,324.48                                       ‐
         9/30/2020          15,024.77                                61,100.75     6,647,324.48                            6,647,324.48                                       ‐
        10/31/2020          15,525.60                                76,626.35     6,647,324.48                            6,647,324.48                                       ‐
        11/30/2020          15,024.77                                91,651.12     6,647,324.48                            6,647,324.48                                       ‐
        12/31/2020          15,525.60                               107,176.72     6,647,324.48                            6,647,324.48                                       ‐
         1/21/2021          10,517.34           (117,694.07)               ‐       6,647,324.48          (63,532.76)       6,583,791.72                               (181,226.83)   Principal and interest
         1/31/2021           4,960.39                                 4,960.39     6,583,791.72                            6,583,791.72                                       ‐
         2/28/2021          18,849.49                                18,849.49     6,583,791.72                            6,583,791.72                                       ‐
         3/31/2021          15,377.21                                34,226.70     6,583,791.72                            6,583,791.72                                       ‐
         4/30/2021          14,881.17                                49,107.87     6,583,791.72                            6,583,791.72                                       ‐
         5/31/2021          15,377.21            (64,485.08)               ‐       6,583,791.72           64,485.08        6,648,276.80                                       ‐      Annual Compound Interest
         6/30/2021          15,026.93                                15,026.93     6,648,276.80                            6,648,276.80                                       ‐
         7/31/2021          15,527.82                                30,554.75     6,648,276.80                            6,648,276.80                                       ‐
         8/31/2021          15,527.82                                46,082.58     6,648,276.80                            6,648,276.80                                       ‐
         9/30/2021          15,026.93                                61,109.50     6,648,276.80                            6,648,276.80                                       ‐
        10/31/2021          15,527.82                                76,637.33     6,648,276.80                            6,648,276.80                                       ‐
        12/17/2021          23,542.19                               100,179.51     6,648,276.80                            6,648,276.80          6,748,456.31                 ‐
        12/31/2021           7,012.57           (107,192.08)             (0.00)    6,648,276.80         (675,905.80)       5,972,371.00                               (783,097.88)   Principal and interest
         1/31/2022          13,949.17                                13,949.17     5,972,371.00                            5,972,371.00                                       ‐
         2/28/2022          12,599.25                                26,548.42     5,972,371.00                            5,972,371.00                                       ‐
         3/31/2022          13,949.17                                40,497.58     5,972,371.00                            5,972,371.00                                       ‐
         4/30/2022          13,499.19                                53,996.78     5,972,371.00                            5,972,371.00                                       ‐
         5/31/2022          13,949.17            (67,945.95)               ‐       5,972,371.00           67,945.95        6,040,316.95                                       ‐      Annual Compound Interest
         6/30/2022          13,652.77                                13,652.77     6,040,316.95                            6,040,316.95                                       ‐
         7/31/2022          14,107.86                                27,760.63     6,040,316.95                            6,040,316.95                                       ‐
           8/8/2022          3,640.74                                31,401.37     6,040,316.95                            6,040,316.95          6,071,718.32                 ‐
         9/30/2022          24,119.90                                55,521.27     6,040,316.95                            6,040,316.95                                       ‐
        10/31/2022          14,107.86                                69,629.13     6,040,316.95                            6,040,316.95                                       ‐
        11/30/2022          13,652.77                                83,281.90     6,040,316.95                            6,040,316.95                                       ‐
        12/31/2022          14,107.86                                97,389.77     6,040,316.95                            6,040,316.95                                       ‐
         1/31/2023          14,107.86                               111,497.63     6,040,316.95                            6,040,316.95                                       ‐
         2/28/2023          12,742.59                               124,240.22     6,040,316.95                            6,040,316.95                                       ‐
         3/31/2023          14,107.86                               138,348.08     6,040,316.95                            6,040,316.95                                       ‐
         4/30/2023          13,652.77                               152,000.85     6,040,316.95                            6,040,316.95                                       ‐
         5/31/2023          14,107.86           (166,108.72)               ‐       6,040,316.95          166,108.72        6,206,425.66                                       ‐      Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 34 of 48




                                EXHIBIT L
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                  Entered 08/05/22 21:37:01                              Page 35 of 48


HCRE #9


Closing Date                                  11/27/2013
Total Commitment                      $          100,000
Rate                                              8.000%

                                                                                                                                       Total of Outstanding
                                                                                                                                       Principal and Interest
       Date        Interest Accrual       Interest Paid     Accrued Interest    Beg Prin Bal    Principal Paid      Ending Prin Bal       (selected dates)      Total Paid
        11/27/2013                                                                                                        100,000.00
        11/30/2013            65.75                                    65.75       100,000.00                             100,000.00
        12/31/2013           679.45                                   745.21       100,000.00                             100,000.00
         1/31/2014           679.45                                 1,424.66       100,000.00                             100,000.00
         2/28/2014           613.70                                 2,038.36       100,000.00                             100,000.00
         3/31/2014           679.45                                 2,717.81       100,000.00                             100,000.00
         4/30/2014           657.53                                 3,375.34       100,000.00                             100,000.00
         5/31/2014           679.45                                 4,054.79       100,000.00                             100,000.00
         6/30/2014           657.53                                 4,712.33       100,000.00                             100,000.00
         7/31/2014           679.45                                 5,391.78       100,000.00                             100,000.00
         8/31/2014           679.45                                 6,071.23       100,000.00                             100,000.00
         9/30/2014           657.53                                 6,728.77       100,000.00                             100,000.00
        10/31/2014           679.45                                 7,408.22       100,000.00                             100,000.00
        11/27/2014           591.78            (8,000.00)                ‐         100,000.00            8,000.00         108,000.00                                         ‐   *Annual Compound Interest
        11/30/2014            71.01                                    71.01       108,000.00                             108,000.00
        12/31/2014           733.81                                   804.82       108,000.00                             108,000.00
         1/31/2015           733.81                                 1,538.63       108,000.00                             108,000.00
         2/28/2015           662.79                                 2,201.42       108,000.00                             108,000.00
         3/31/2015           733.81                                 2,935.23       108,000.00                             108,000.00
         4/30/2015           710.14                                 3,645.37       108,000.00                             108,000.00
         5/31/2015           733.81                                 4,379.18       108,000.00                             108,000.00
         6/30/2015           710.14                                 5,089.32       108,000.00                             108,000.00
         7/31/2015           733.81                                 5,823.12       108,000.00                             108,000.00
         8/31/2015           733.81                                 6,556.93       108,000.00                             108,000.00
         9/30/2015           710.14                                 7,267.07       108,000.00                             108,000.00
        10/31/2015           733.81                                 8,000.88       108,000.00                             108,000.00
        11/27/2015           639.12            (8,640.00)                ‐         108,000.00            8,640.00         116,640.00                                         ‐   *Annual Compound Interest
        11/30/2015            76.69                                    76.69       116,640.00                             116,640.00
        12/31/2015           792.51                                   869.21       116,640.00                             116,640.00
         1/31/2016           792.51                                 1,661.72       116,640.00                             116,640.00
         2/29/2016           741.38                                 2,403.10       116,640.00                             116,640.00
         3/31/2016           792.51                                 3,195.62       116,640.00                             116,640.00
         4/30/2016           766.95                                 3,962.56       116,640.00                             116,640.00
         5/31/2016           792.51                                 4,755.08       116,640.00                             116,640.00
         6/30/2016           766.95                                 5,522.03       116,640.00                             116,640.00
         7/31/2016           792.51                                 6,314.54       116,640.00                             116,640.00
         8/31/2016           792.51                                 7,107.05       116,640.00                             116,640.00
         9/30/2016           766.95                                 7,874.00       116,640.00                             116,640.00
        10/31/2016           792.51                                 8,666.51       116,640.00                             116,640.00
        11/27/2016           690.25            (9,356.76)               0.00       116,640.00            9,356.76         125,996.76                                         ‐   *Annual Compound Interest
        11/30/2016            82.85                                    82.85       125,996.76                             125,996.76
        12/31/2016           856.09                                   938.94       125,996.76                             125,996.76
         1/31/2017           856.09                                 1,795.03       125,996.76                             125,996.76
         2/28/2017           773.24                                 2,568.27       125,996.76                             125,996.76
         3/31/2017           856.09                                 3,424.36       125,996.76                             125,996.76
         4/30/2017           828.47                                 4,252.83       125,996.76                             125,996.76
         5/31/2017           856.09                                 5,108.91       125,996.76                             125,996.76
         6/30/2017           828.47                                 5,937.39       125,996.76                             125,996.76
         7/31/2017           856.09                                 6,793.47       125,996.76                             125,996.76
         8/31/2017           856.09                                 7,649.56       125,996.76                             125,996.76
         9/30/2017           828.47                                 8,478.03       125,996.76                             125,996.76
        10/31/2017           856.09                                 9,334.12       125,996.76                             125,996.76
        11/27/2017           745.62           (10,079.75)              (0.00)      125,996.76           10,079.75         136,076.51                                         ‐   *Annual Compound Interest
        11/30/2017            89.47                                    89.47       136,076.51                             136,076.51
        12/31/2017           924.57                                 1,014.05       136,076.51                             136,076.51
         1/31/2018           924.57                                 1,938.62       136,076.51                             136,076.51
         2/28/2018           835.10                                 2,773.72       136,076.51                             136,076.51
         3/31/2018           924.57                                 3,698.29       136,076.51                             136,076.51
         4/30/2018           894.75                                 4,593.04       136,076.51                             136,076.51
         5/31/2018           924.57                                 5,517.62       136,076.51                             136,076.51
         6/30/2018           894.75                                 6,412.37       136,076.51                             136,076.51
         7/31/2018           924.57                                 7,336.94       136,076.51                             136,076.51
         8/31/2018           924.57                                 8,261.52       136,076.51                             136,076.51
         9/30/2018           894.75                                 9,156.27       136,076.51                             136,076.51
        10/31/2018           924.57                                10,080.84       136,076.51                             136,076.51
        11/27/2018           805.27           (10,886.12)              (0.00)      136,076.51           10,886.12         146,962.63                                         ‐   *Annual Compound Interest
        11/30/2018            96.63                                    96.63       146,962.63                             146,962.63
        12/31/2018           998.54                                 1,095.17       146,962.63                             146,962.63
         1/31/2019           998.54                                 2,093.71       146,962.63                             146,962.63
         2/28/2019           901.91                                 2,995.62       146,962.63                             146,962.63
         3/31/2019           998.54                                 3,994.16       146,962.63                             146,962.63
         4/30/2019           966.33                                 4,960.49       146,962.63                             146,962.63
         5/31/2019           998.54                                 5,959.03       146,962.63                             146,962.63
         6/30/2019           966.33                                 6,925.36       146,962.63                             146,962.63
         7/31/2019           998.54                                 7,923.90       146,962.63                             146,962.63
         8/31/2019           998.54                                 8,922.44       146,962.63                             146,962.63
         9/30/2019           966.33                                 9,888.77       146,962.63                             146,962.63
        10/15/2019           483.16                                10,371.93       146,962.63                             146,962.63
        10/31/2019           515.38                                10,887.31       146,962.63                             146,962.63
        11/27/2019           869.70           (11,757.01)              (0.00)      146,962.63           11,757.01         158,719.64                                         ‐   *Annual Compound Interest
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                 Entered 08/05/22 21:37:01                               Page 36 of 48


HCRE #9


Closing Date                                   11/27/2013
Total Commitment                       $          100,000
Rate                                               8.000%

                                                                                                                                       Total of Outstanding
                                                                                                                                       Principal and Interest
       Date         Interest Accrual       Interest Paid   Accrued Interest    Beg Prin Bal    Principal Paid       Ending Prin Bal       (selected dates)      Total Paid
        11/30/2019            104.36                                104.36        158,719.64                              158,719.64
        12/31/2019          1,078.42                              1,182.78        158,719.64                              158,719.64
         1/31/2020          1,078.42                              2,261.21        158,719.64                              158,719.64
         2/29/2020          1,008.85                              3,270.06        158,719.64                              158,719.64
         3/31/2020          1,078.42                              4,348.48        158,719.64                              158,719.64
         4/30/2020          1,043.64                              5,392.12        158,719.64                              158,719.64
         5/31/2020          1,078.42                              6,470.54        158,719.64                              158,719.64
         6/30/2020          1,043.64                              7,514.18        158,719.64                              158,719.64
         7/31/2020          1,078.42                              8,592.60        158,719.64                              158,719.64
         8/31/2020          1,078.42                              9,671.02        158,719.64                              158,719.64
         9/30/2020          1,043.64                             10,714.66        158,719.64                              158,719.64
        10/31/2020          1,078.42                             11,793.08        158,719.64                              158,719.64
        11/27/2020            939.27           (12,732.36)            (0.00)      158,719.64           12,732.36          171,452.00                                         ‐   *Annual Compound Interest
        11/30/2020            112.74                                112.73        171,452.00                              171,452.00
        12/31/2020          1,164.93                              1,277.67        171,452.00                              171,452.00
         1/21/2021            789.15                  ‐           2,066.81        171,452.00                    ‐         171,452.00
         1/31/2021            375.79                              2,442.60        171,452.00                              171,452.00
         2/28/2021          1,052.20                              3,494.80        171,452.00                              171,452.00
         3/31/2021          1,164.93                              4,659.73        171,452.00                              171,452.00
         4/30/2021          1,127.36                              5,787.09        171,452.00                              171,452.00
         5/31/2021          1,164.93                              6,952.02        171,452.00                              171,452.00
         6/30/2021          1,127.36                              8,079.38        171,452.00                              171,452.00
         7/31/2021          1,164.93                              9,244.31        171,452.00                              171,452.00
         8/31/2021          1,164.93                             10,409.25        171,452.00                              171,452.00
         9/30/2021          1,127.36                             11,536.60        171,452.00                              171,452.00
        10/31/2021          1,164.93                             12,701.54        171,452.00                              171,452.00
        11/27/2021          1,014.62           (13,716.16)              ‐         171,452.00           13,716.16          185,168.16                                         ‐   *Annual Compound Interest
        11/30/2021            121.75                                121.75        185,168.16                              185,168.16
        12/17/2021            689.94                                811.70        185,168.16                              185,168.16             185,979.85
         1/31/2022          1,826.32                              2,638.01        185,168.16                              185,168.16
         2/28/2022          1,136.37                              3,774.39        185,168.16                              185,168.16
         3/31/2022          1,258.13                              5,032.52        185,168.16                              185,168.16
         4/30/2022          1,217.54                              6,250.06        185,168.16                              185,168.16
         5/31/2022          1,258.13                              7,508.19        185,168.16                              185,168.16
         6/30/2022          1,217.54                              8,725.73        185,168.16                              185,168.16
         7/31/2022          1,258.13                              9,983.86        185,168.16                              185,168.16
           8/8/2022           324.68                             10,308.54        185,168.16                              185,168.16             195,476.70
         9/30/2022          2,150.99                             12,459.53        185,168.16                              185,168.16
        10/31/2022          1,258.13                             13,717.66        185,168.16                              185,168.16
        11/27/2022          1,095.79           (14,813.45)              ‐         185,168.16           14,813.45          199,981.61                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 37 of 48




                               EXHIBIT M
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                  Entered 08/05/22 21:37:01                              Page 38 of 48


HCRE #10


Closing Date                                   10/12/2017
Total Commitment                       $        2,500,000
Rate                                               8.000%

                                                                                                                                       Total of Outstanding
                                                                                                                                       Principal and Interest
       Date         Interest Accrual       Interest Paid     Accrued Interest   Beg Prin Bal    Principal Paid     Ending Prin Bal        (selected dates)      Total Paid
        10/12/2017                                                                                                      2,500,000.00
        10/31/2017         10,410.96                               10,410.96     2,500,000.00                           2,500,000.00
        11/30/2017         16,438.36                               26,849.32     2,500,000.00                           2,500,000.00
        12/31/2017         16,986.30                               43,835.62     2,500,000.00                           2,500,000.00
         1/31/2018         16,986.30                               60,821.92     2,500,000.00                           2,500,000.00
         2/28/2018         15,342.47                               76,164.38     2,500,000.00                           2,500,000.00
         3/31/2018         16,986.30                               93,150.68     2,500,000.00                           2,500,000.00
         4/30/2018         16,438.36                              109,589.04     2,500,000.00                           2,500,000.00
         5/31/2018         16,986.30                              126,575.34     2,500,000.00                           2,500,000.00
         6/30/2018         16,438.36                              143,013.70     2,500,000.00                           2,500,000.00
         7/31/2018         16,986.30                              160,000.00     2,500,000.00                           2,500,000.00
         8/31/2018         16,986.30                              176,986.30     2,500,000.00                           2,500,000.00
         9/30/2018         16,438.36                              193,424.66     2,500,000.00                           2,500,000.00
        10/12/2018          6,575.34          (200,000.00)               ‐       2,500,000.00         200,000.00        2,700,000.00                                         ‐   *Annual Compound Interest
        10/31/2018         11,243.84                               11,243.84     2,700,000.00                           2,700,000.00
        11/30/2018         17,753.42                               28,997.26     2,700,000.00                           2,700,000.00
        12/31/2018         18,345.21                               47,342.47     2,700,000.00                           2,700,000.00
         1/31/2019         18,345.21                               65,687.67     2,700,000.00                           2,700,000.00
         2/28/2019         16,569.86                               82,257.53     2,700,000.00                           2,700,000.00
         3/31/2019         18,345.21                              100,602.74     2,700,000.00                           2,700,000.00
         4/30/2019         17,753.42                              118,356.16     2,700,000.00                           2,700,000.00
         5/31/2019         18,345.21                              136,701.37     2,700,000.00                           2,700,000.00
         6/30/2019         17,753.42                              154,454.79     2,700,000.00                           2,700,000.00
         7/31/2019         18,345.21                              172,800.00     2,700,000.00                           2,700,000.00
         8/31/2019         18,345.21                              191,145.21     2,700,000.00                           2,700,000.00
         9/30/2019         17,753.42                              208,898.63     2,700,000.00                           2,700,000.00
        10/12/2019          7,101.37          (216,000.00)               ‐       2,700,000.00         216,000.00        2,916,000.00                                         ‐   *Annual Compound Interest
        10/15/2019          1,917.37                                1,917.37     2,916,000.00                           2,916,000.00
        10/31/2019         10,225.97                               12,143.34     2,916,000.00                           2,916,000.00
        11/30/2019         19,173.70                               31,317.04     2,916,000.00                           2,916,000.00
        12/31/2019         19,812.82                               51,129.86     2,916,000.00                           2,916,000.00
         1/31/2020         19,812.82                               70,942.68     2,916,000.00                           2,916,000.00
         2/29/2020         18,534.58                               89,477.26     2,916,000.00                           2,916,000.00
         3/31/2020         19,812.82                              109,290.08     2,916,000.00                           2,916,000.00
         4/30/2020         19,173.70                              128,463.78     2,916,000.00                           2,916,000.00
         5/31/2020         19,812.82                              148,276.60     2,916,000.00                           2,916,000.00
         6/30/2020         19,173.70                              167,450.30     2,916,000.00                           2,916,000.00
         7/31/2020         19,812.82                              187,263.12     2,916,000.00                           2,916,000.00
         8/31/2020         19,812.82                              207,075.95     2,916,000.00                           2,916,000.00
         9/30/2020         19,173.70                              226,249.64     2,916,000.00                           2,916,000.00
        10/12/2020          7,669.48          (233,919.12)              0.00     2,916,000.00         233,919.12        3,149,919.12                                         ‐   *Annual Compound Interest
        10/31/2020         13,117.47                               13,117.47     3,149,919.12                           3,149,919.12
        11/30/2020         20,711.80                               33,829.27     3,149,919.12                           3,149,919.12
        12/31/2020         21,402.19                               55,231.46     3,149,919.12                           3,149,919.12
         1/21/2021         14,498.26           (69,729.72)             (0.00)    3,149,919.12                           3,149,919.12                                 (69,729.72) Interest
         1/31/2021          6,903.93                                6,903.93     3,149,919.12                           3,149,919.12
         2/28/2021         19,331.01                               26,234.94     3,149,919.12                           3,149,919.12
         3/31/2021         21,402.19                               47,637.13     3,149,919.12                           3,149,919.12
         4/30/2021         20,711.80                               68,348.93     3,149,919.12                           3,149,919.12
         5/31/2021         21,402.19                               89,751.12     3,149,919.12                           3,149,919.12
         6/30/2021         20,711.80                              110,462.92     3,149,919.12                           3,149,919.12
         7/31/2021         21,402.19                              131,865.11     3,149,919.12                           3,149,919.12
         8/31/2021         21,402.19                              153,267.30     3,149,919.12                           3,149,919.12
         9/30/2021         20,711.80                              173,979.09     3,149,919.12                           3,149,919.12
        10/12/2021          8,284.72          (182,263.81)              0.00     3,149,919.12         182,263.81        3,332,182.93                                         ‐   *Annual Compound Interest
        10/31/2021         13,876.49                               13,876.49     3,332,182.93                           3,332,182.93
        11/30/2021         21,910.24                               35,786.73     3,332,182.93                           3,332,182.93
        12/17/2021         12,415.80                               48,202.54     3,332,182.93                           3,332,182.93           3,380,385.47
         1/31/2022         32,865.37                               81,067.91     3,332,182.93                           3,332,182.93
         2/28/2022         20,449.56                              101,517.47     3,332,182.93                           3,332,182.93
         3/31/2022         22,640.59                              124,158.05     3,332,182.93                           3,332,182.93
         4/30/2022         21,910.24                              146,068.30     3,332,182.93                           3,332,182.93
         5/31/2022         22,640.59                              168,708.88     3,332,182.93                           3,332,182.93
         6/30/2022         21,910.24                              190,619.13     3,332,182.93                           3,332,182.93
         7/31/2022         22,640.59                              213,259.71     3,332,182.93                           3,332,182.93
           8/8/2022         5,842.73                              219,102.44     3,332,182.93                           3,332,182.93           3,551,285.37
         9/30/2022         38,708.10                              257,810.54     3,332,182.93                           3,332,182.93
        10/12/2022          8,764.10          (266,574.64)               ‐       3,332,182.93         266,574.64        3,598,757.57                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 39 of 48




                                EXHIBIT N
                   Case 21-03006-sgj Doc 221 Filed 08/05/22                                                 Entered 08/05/22 21:37:01                               Page 40 of 48


HCRE #11


Closing Date                                     10/15/2018
Total Commitment                         $          750,000
Rate                                                 8.000%

                                                                                                                                           Total of Outstanding
                                                                                                                                           Principal and Interest
       Date           Interest Accrual       Interest Paid     Accrued Interest    Beg Prin Bal    Principal Paid      Ending Prin Bal        (selected dates)      Total Paid
        10/15/2018                                                                                                            750,000.00
        10/31/2018           2,630.14                                  2,630.14       750,000.00                              750,000.00
        11/30/2018           4,931.51                                  7,561.64       750,000.00                              750,000.00
        12/31/2018           5,095.89                                 12,657.53       750,000.00                              750,000.00
         1/31/2019           5,095.89                                 17,753.42       750,000.00                              750,000.00
         2/28/2019           4,602.74                                 22,356.16       750,000.00                              750,000.00
         3/31/2019           5,095.89                                 27,452.05       750,000.00                              750,000.00
         4/30/2019           4,931.51                                 32,383.56       750,000.00                              750,000.00
         5/31/2019           5,095.89                                 37,479.45       750,000.00                              750,000.00
         6/30/2019           4,931.51                                 42,410.96       750,000.00                              750,000.00
         7/31/2019           5,095.89                                 47,506.85       750,000.00                              750,000.00
         8/31/2019           5,095.89                                 52,602.74       750,000.00                              750,000.00
         9/30/2019           4,931.51                                 57,534.25       750,000.00                              750,000.00
        10/15/2019           2,465.75            (60,000.00)                ‐         750,000.00           60,000.00          810,000.00                                         ‐   *Annual Compound Interest
        10/31/2019           2,840.55                                  2,840.55       810,000.00                              810,000.00
        11/30/2019           5,326.03                                  8,166.58       810,000.00                              810,000.00
        12/31/2019           5,503.56                                 13,670.14       810,000.00                              810,000.00
         1/31/2020           5,503.56                                 19,173.70       810,000.00                              810,000.00
         2/29/2020           5,148.49                                 24,322.19       810,000.00                              810,000.00
         3/31/2020           5,503.56                                 29,825.75       810,000.00                              810,000.00
         4/30/2020           5,326.03                                 35,151.78       810,000.00                              810,000.00
         5/31/2020           5,503.56                                 40,655.34       810,000.00                              810,000.00
         6/30/2020           5,326.03                                 45,981.37       810,000.00                              810,000.00
         7/31/2020           5,503.56                                 51,484.93       810,000.00                              810,000.00
         8/31/2020           5,503.56                                 56,988.49       810,000.00                              810,000.00
         9/30/2020           5,326.03                                 62,314.52       810,000.00                              810,000.00
        10/15/2020           2,663.01            (64,977.53)               0.00       810,000.00           64,977.53          874,977.53                                         ‐   *Annual Compound Interest
        10/31/2020           3,068.41                                  3,068.42       874,977.53                              874,977.53
        11/30/2020           5,753.28                                  8,821.70       874,977.53                              874,977.53
        12/31/2020           5,945.05                                 14,766.75       874,977.53                              874,977.53
         1/21/2021           4,027.29            (18,794.04)               0.00       874,977.53                              874,977.53                               (18,794.04) Interest
         1/31/2021           1,917.76                                  1,917.76       874,977.53                              874,977.53
         2/28/2021           5,369.73                                  7,287.49       874,977.53                              874,977.53
         3/31/2021           5,945.05                                 13,232.54       874,977.53                              874,977.53
         4/30/2021           5,753.28                                 18,985.82       874,977.53                              874,977.53
         5/31/2021           5,945.05                                 24,930.87       874,977.53                              874,977.53
         6/30/2021           5,753.28                                 30,684.15       874,977.53                              874,977.53
         7/31/2021           5,945.05                                 36,629.20       874,977.53                              874,977.53
         8/31/2021           5,945.05                                 42,574.25       874,977.53                              874,977.53
         9/30/2021           5,753.28                                 48,327.53       874,977.53                              874,977.53
        10/15/2021           2,876.64            (51,204.17)              (0.00)      874,977.53           51,204.17          926,181.70                                         ‐   *Annual Compound Interest
        10/31/2021           3,247.98                                  3,247.98       926,181.70                              926,181.70
        11/30/2021           6,089.96                                  9,337.94       926,181.70                              926,181.70
        12/17/2021           3,450.98                                 12,788.92       926,181.70                              926,181.70             938,970.62
         1/31/2022           9,134.94                                 21,923.86       926,181.70                              926,181.70
         2/28/2022           5,683.96                                 27,607.82       926,181.70                              926,181.70
         3/31/2022           6,292.96                                 33,900.78       926,181.70                              926,181.70
         4/30/2022           6,089.96                                 39,990.75       926,181.70                              926,181.70
         5/31/2022           6,292.96                                 46,283.71       926,181.70                              926,181.70
         6/30/2022           6,089.96                                 52,373.67       926,181.70                              926,181.70
         7/31/2022           6,292.96                                 58,666.63       926,181.70                              926,181.70
           8/8/2022          1,623.99                                 60,290.62       926,181.70                              926,181.70             986,472.32
         9/30/2022          10,758.93                                 71,049.55       926,181.70                              926,181.70
        10/15/2022           3,044.98            (74,094.53)                ‐         926,181.70           74,094.53        1,000,276.23                                         ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 41 of 48




                               EXHIBIT O
                    Case 21-03006-sgj Doc 221 Filed 08/05/22                                               Entered 08/05/22 21:37:01                            Page 42 of 48


HCRE #12

Closing Date                                      9/25/2019
Total Commitment                              $     900,000
Rate                                                 8.000%
Note:                                         Payable On Demand; compounded annually on anniversary date

                                                                                                                                            Total of
                                                                                                                                          Outstanding
                                                                                                                                         Principal and
                                                                                                                                       Interest (selected
           Date            Interest Accrual    Interest Paid    Accrued Interest    Beg Prin Bal    Principal Paid   Ending Prin Bal         dates)         Total Paid
              9/25/2019                                                                                                  900,000.00
              9/30/2019              986.30          (986.30)               0.00       900,000.00     (204,732.70)       695,267.30                         (205,719.00)
             10/15/2019            2,285.81                             2,285.81       695,267.30                        695,267.30
             10/31/2019            2,438.20                             4,724.01       695,267.30                        695,267.30
             11/30/2019            4,571.62                             9,295.63       695,267.30                        695,267.30
             12/31/2019            4,724.01                            14,019.64       695,267.30                        695,267.30
              1/31/2020            4,724.01                            18,743.65       695,267.30                        695,267.30
              2/29/2020            4,419.23                            23,162.88       695,267.30                        695,267.30
              3/31/2020            4,724.01                            27,886.89       695,267.30                        695,267.30
              4/30/2020            4,571.62                            32,458.51       695,267.30                        695,267.30
              5/31/2020            4,724.01                            37,182.52       695,267.30                        695,267.30
              6/30/2020            4,571.62                            41,754.14       695,267.30                        695,267.30
              7/31/2020            4,724.01                            46,478.14       695,267.30                        695,267.30
              8/31/2020            4,724.01                            51,202.15       695,267.30                        695,267.30
              9/25/2020            3,809.68       (55,011.84)              (0.00)      695,267.30       55,011.84        750,279.14                                  ‐     *Annual Compound Interest
              9/30/2020              822.22                               822.22       750,279.14                        750,279.14
             10/31/2020            5,097.79                             5,920.01       750,279.14                        750,279.14
             11/30/2020            4,933.34                            10,853.35       750,279.14                        750,279.14
             12/31/2020            5,097.79                            15,951.14       750,279.14                        750,279.14
              1/21/2021            3,453.34              ‐             19,404.48       750,279.14                        750,279.14
              1/31/2021            1,644.45                            21,048.92       750,279.14                        750,279.14
              2/28/2021            4,604.45                            25,653.38       750,279.14                        750,279.14
              3/31/2021            5,097.79                            30,751.16       750,279.14                        750,279.14
              4/30/2021            4,933.34                            35,684.51       750,279.14                        750,279.14
              5/31/2021            5,097.79                            40,782.29       750,279.14                        750,279.14
              6/30/2021            4,933.34                            45,715.63       750,279.14                        750,279.14
              7/31/2021            5,097.79                            50,813.42       750,279.14                        750,279.14
              8/31/2021            5,097.79                            55,911.21       750,279.14                        750,279.14
              9/25/2021            4,111.12       (60,022.33)              (0.00)      750,279.14       60,022.33        810,301.47                                  ‐     *Annual Compound Interest
              9/30/2021              888.00                               888.00       810,301.47                        810,301.47
             10/31/2021            5,505.61                             6,393.61       810,301.47                        810,301.47
             11/30/2021            5,328.01                            11,721.62       810,301.47                        810,301.47
             12/17/2021            3,019.21                            14,740.82       810,301.47                        810,301.47          825,042.29
              1/31/2022            7,992.01                            22,732.84       810,301.47                        810,301.47
              2/28/2022            4,972.81                            27,705.65       810,301.47                        810,301.47
              3/31/2022            5,505.61                            33,211.26       810,301.47                        810,301.47
              4/30/2022            5,328.01                            38,539.27       810,301.47                        810,301.47
              5/31/2022            5,505.61                            44,044.88       810,301.47                        810,301.47
              6/30/2022            5,328.01                            49,372.89       810,301.47                        810,301.47
              7/31/2022            5,505.61                            54,878.50       810,301.47                        810,301.47
                8/8/2022           1,420.80                            56,299.30       810,301.47                        810,301.47          866,600.77
              9/25/2022            8,524.82       (64,824.11)                ‐         810,301.47       64,824.11        875,125.58                                  ‐     *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 43 of 48




                                EXHIBIT P
               Case 21-03006-sgj Doc 221 Filed 08/05/22                                          Entered 08/05/22 21:37:01                            Page 44 of 48


HCRE Term


Closing Date                               5/31/2017
Total Commitment                        $ 6,059,832
Rate                                          8.000%

                                                                                                                                   Total of
                                                                                                                                Outstanding
                                                                                                                                Principal and
                                                                                                                              Interest (selected
       Date          Interest Accrual   Interest Paid   Accrued Interest   Beg Prin Bal   Principal Paid    Ending Prin Bal         dates)         Total Paid
         5/31/2017                                                                                         $     6,059,832
         6/30/2017         39,845.47                          39,845.47    6,059,831.51                       6,059,831.51
         7/31/2017         41,173.65                          81,019.12    6,059,831.51                       6,059,831.51
         8/31/2017         41,173.65                         122,192.77    6,059,831.51                       6,059,831.51
         9/30/2017         39,845.47                         162,038.23    6,059,831.51                       6,059,831.51
        10/31/2017         41,173.65                         203,211.88    6,059,831.51                       6,059,831.51
        11/30/2017         39,845.47                         243,057.35    6,059,831.51                       6,059,831.51
        12/27/2017         35,860.92                         278,918.27    6,059,831.51                       6,059,831.51
        12/31/2017          5,312.73    (284,231.00)               0.00    6,059,831.51    (201,994.38)       5,857,837.13                         (486,225.38) Principal and interest
         1/31/2018         39,801.19                          39,801.20    5,857,837.13                       5,857,837.13
         2/28/2018         35,949.47                          75,750.66    5,857,837.13                       5,857,837.13
         3/31/2018         39,801.19                         115,551.86    5,857,837.13                       5,857,837.13
         4/30/2018         38,517.29                         154,069.14    5,857,837.13                       5,857,837.13
         5/31/2018         39,801.19    (193,870.34)              (0.00)   5,857,837.13     193,870.34        6,051,707.47                                  ‐   *Annual Compound Interest
         6/30/2018         39,792.05                          39,792.05    6,051,707.47                       6,051,707.47
         7/31/2018         41,118.45                          80,910.50    6,051,707.47                       6,051,707.47
         8/31/2018         41,118.45                         122,028.95    6,051,707.47                       6,051,707.47
         9/30/2018         39,792.05                         161,821.00    6,051,707.47                       6,051,707.47
        10/31/2018         41,118.45                         202,939.45    6,051,707.47                       6,051,707.47
        11/30/2018         39,792.05                         242,731.50    6,051,707.47                       6,051,707.47
        12/19/2018         25,201.63    (453,220.06)        (185,286.93)   6,051,707.47    (201,994.38)       5,849,713.09                         (655,214.44) Principal and interest
        12/31/2018         15,385.55                        (169,901.39)   5,849,713.09                       5,849,713.09
         1/31/2019         39,746.00                        (130,155.39)   5,849,713.09                       5,849,713.09
         2/28/2019         35,899.61                         (94,255.78)   5,849,713.09                       5,849,713.09
         3/31/2019         39,746.00                         (54,509.78)   5,849,713.09                       5,849,713.09
         4/30/2019         38,463.87                         (16,045.92)   5,849,713.09                       5,849,713.09
         5/31/2019         39,746.00     (23,700.08)              (0.00)   5,849,713.09      23,700.08        5,873,413.17                                  ‐   *Annual Compound Interest
         6/30/2019         38,619.70                          38,619.70    5,873,413.17                       5,873,413.17
         7/31/2019         39,907.03                          78,526.73    5,873,413.17                       5,873,413.17
         8/31/2019         39,907.03                         118,433.75    5,873,413.17                       5,873,413.17
         9/30/2019         38,619.70                         157,053.46    5,873,413.17                       5,873,413.17
        10/15/2019         19,309.85                         176,363.31    5,873,413.17                       5,873,413.17
        10/31/2019         20,597.17                         196,960.48    5,873,413.17                       5,873,413.17
        11/30/2019         38,619.70                         235,580.19    5,873,413.17                       5,873,413.17
        12/30/2019         38,619.70     ‐275,487.21          (1,287.32)   5,873,413.17     ‐201,994.40       5,671,418.77                          (477,481.61) Principal and interest
        12/31/2019          1,243.05                             (44.27)   5,671,418.77                       5,671,418.77
         1/31/2020         38,534.57                          38,490.30    5,671,418.77                       5,671,418.77
         2/29/2020         36,048.47                          74,538.77    5,671,418.77                       5,671,418.77
         3/31/2020         38,534.57                         113,073.34    5,671,418.77                       5,671,418.77
         4/30/2020         37,291.52                         150,364.86    5,671,418.77                       5,671,418.77
         5/31/2020         38,534.57    (188,899.43)               0.00    5,671,418.77     188,899.43        5,860,318.20                                  ‐   *Annual Compound Interest
         6/30/2020         38,533.60                          38,533.60    5,860,318.20                       5,860,318.20
         7/31/2020         39,818.05                          78,351.66    5,860,318.20                       5,860,318.20
         8/31/2020         39,818.05                         118,169.71    5,860,318.20                       5,860,318.20
         9/30/2020         38,533.60                         156,703.31    5,860,318.20                       5,860,318.20
        10/31/2020         39,818.05                         196,521.36    5,860,318.20                       5,860,318.20
        11/30/2020         38,533.60                         235,054.96    5,860,318.20                       5,860,318.20
        12/31/2020         39,818.05                         274,873.01    5,860,318.20                       5,860,318.20
         1/21/2021         26,973.52    (274,917.29)          26,929.24    5,860,318.20    (390,893.80)       5,469,424.40                          (665,811.09) Principal and interest
         1/31/2021         11,987.78                          38,917.02    5,469,424.40                       5,469,424.40
         2/28/2021         33,565.78                          72,482.80    5,469,424.40                       5,469,424.40
         3/31/2021         37,162.12                         109,644.92    5,469,424.40                       5,469,424.40
         4/30/2021         35,963.34                         145,608.26    5,469,424.40                       5,469,424.40
         5/31/2021         37,162.12    (182,770.37)                ‐      5,469,424.40     182,770.37        5,652,194.77                                  ‐   *Annual Compound Interest
         6/30/2021         37,165.12                          37,165.12    5,652,194.77                       5,652,194.77
         7/31/2021         38,403.95                          75,569.07    5,652,194.77                       5,652,194.77
         8/31/2021         38,403.95                         113,973.02    5,652,194.77                       5,652,194.77
         9/30/2021         37,165.12                         151,138.14    5,652,194.77                       5,652,194.77
        10/31/2021         38,403.95                         189,542.09    5,652,194.77                       5,652,194.77
        11/30/2021         37,165.12                         226,707.21    5,652,194.77                       5,652,194.77
        12/17/2021         21,060.23                         247,767.44    5,652,194.77                       5,652,194.77        5,899,962.22
         1/31/2022         55,747.67                         303,515.12    5,652,194.77                       5,652,194.77
         2/28/2022         34,687.44                         338,202.56    5,652,194.77                       5,652,194.77
         3/31/2022         38,403.95                         376,606.51    5,652,194.77                       5,652,194.77
               Case 21-03006-sgj Doc 221 Filed 08/05/22                                       Entered 08/05/22 21:37:01                           Page 45 of 48


HCRE Term


Closing Date                               5/31/2017
Total Commitment                        $ 6,059,832
Rate                                          8.000%

                                                                                                                               Total of
                                                                                                                            Outstanding
                                                                                                                            Principal and
                                                                                                                          Interest (selected
       Date          Interest Accrual   Interest PaidAccrued Interest   Beg Prin Bal   Principal Paid   Ending Prin Bal         dates)         Total Paid
         4/30/2022          37,165.12                    413,771.63     5,652,194.77                      5,652,194.77
         5/31/2022          38,403.95   (452,175.58)              ‐     5,652,194.77     452,175.58       6,104,370.36                                  ‐   *Annual Compound Interest
         6/30/2022          40,138.33                     40,138.33     6,104,370.36                      6,104,370.36
         7/31/2022          41,476.27                     81,614.60     6,104,370.36                      6,104,370.36
          8/8/2022          10,703.55                     92,318.15     6,104,370.36                      6,104,370.36        6,196,688.51
         9/30/2022          70,911.04                    163,229.19     6,104,370.36                      6,104,370.36
        10/31/2022          41,476.27                    204,705.46     6,104,370.36                      6,104,370.36
        11/30/2022          40,138.33                    244,843.79     6,104,370.36                      6,104,370.36
        12/31/2022          41,476.27                    286,320.06     6,104,370.36                      6,104,370.36
         1/31/2023          41,476.27                    327,796.33     6,104,370.36                      6,104,370.36
         2/28/2023          37,462.44                    365,258.76     6,104,370.36                      6,104,370.36
         3/31/2023          41,476.27                    406,735.03     6,104,370.36                      6,104,370.36
         4/30/2023          40,138.33                    446,873.36     6,104,370.36                      6,104,370.36
         5/31/2023          41,476.27   (488,349.63)              ‐     6,104,370.36     488,349.63       6,592,719.99                                  ‐   *Annual Compound Interest
Case 21-03006-sgj Doc 221 Filed 08/05/22   Entered 08/05/22 21:37:01   Page 46 of 48




                               EXHIBIT Q
               Case 21-03006-sgj Doc 221 Filed 08/05/22                                         Entered 08/05/22 21:37:01                         Page 47 of 48


NPA Term


Closing Date                         5/31/2017
Total Commitment              $     30,746,812
Rate                                    6.000%
Maturity:                           12/31/2047
                                                                                                                             Total of
                                                                                                                           Outstanding
                                                                                                                          Principal and
                                                                                                                        Interest (selected
   Date    Interest Accrual       Interest Paid    Accrued Interest   Beg Prin Bal   Principal Paid   Ending Prin Bal         dates)          Total Paid
 5/31/2017                                                                                             30,746,812.33
 6/30/2017      151,628.12                              151,628.12 $ 30,746,812                        30,746,812.33
 7/31/2017      156,682.39                              308,310.50 30,746,812.33                       30,746,812.33
 8/31/2017      156,682.39                              464,992.89 30,746,812.33                       30,746,812.33
 9/30/2017      151,628.12                              616,621.00 30,746,812.33                       30,746,812.33
10/20/2017      101,085.41         (717,706.41)                ‐    30,746,812.33       (82,293.59)    30,664,518.74                          (800,000.00) Principal and interest
10/31/2017       55,448.17                               55,448.17 30,664,518.74                       30,664,518.74
11/30/2017      151,222.28                              206,670.46 30,664,518.74                       30,664,518.74
 12/5/2017       25,203.71         (358,904.83)        (127,030.67) 30,664,518.74      (942,600.16)    29,721,918.58                         (1,301,504.99) Principal and interest
12/31/2017      127,030.67                                   (0.00) 29,721,918.58                      29,721,918.58
 1/31/2018      151,459.64                              151,459.64 29,721,918.58                       29,721,918.58
 2/28/2018      136,802.26                              288,261.90 29,721,918.58                       29,721,918.58
 3/31/2018      151,459.64                              439,721.54 29,721,918.58                       29,721,918.58
 4/10/2018       48,857.95         (439,721.54)          48,857.95 29,721,918.58                       29,721,918.58                          (439,721.54) Interest
 4/30/2018       97,715.90                              146,573.85 29,721,918.58                       29,721,918.58
  5/1/2018        4,885.79         (146,573.85)           4,885.79 29,721,918.58                       29,721,918.58                          (146,573.85) Interest
  5/9/2018       39,086.36         (879,927.65)        (835,955.50) 29,721,918.58                      29,721,918.58                          (879,927.65) Interest
 5/31/2018      107,487.49                             (728,468.01) 29,721,918.58                      29,721,918.58
 6/30/2018      146,573.85                             (581,894.17) 29,721,918.58                      29,721,918.58
 7/31/2018      151,459.64                             (430,434.53) 29,721,918.58                      29,721,918.58
 8/31/2018      151,459.64                             (278,974.89) 29,721,918.58                      29,721,918.58
  9/5/2018       24,428.97                             (254,545.91) 29,721,918.58      (280,765.40)    29,441,153.18                           (280,765.40) Principal
 9/21/2018       77,434.27                             (177,111.65) 29,441,153.18    (1,023,750.00)    28,417,403.18                         (1,023,750.00) Principal
 9/30/2018       42,042.19                             (135,069.46) 28,417,403.18                      28,417,403.18
10/31/2018      144,811.97                                9,742.51 28,417,403.18                       28,417,403.18
11/30/2018      140,140.62                              149,883.13 28,417,403.18                       28,417,403.18
12/18/2018       84,084.37         (294,695.10)         (60,727.60) 28,417,403.18                      28,417,403.18                          (294,695.10) Interest
12/31/2018       60,727.60                                   (0.00) 28,417,403.18                      28,417,403.18
 1/31/2019      144,811.97                              144,811.97 28,417,403.18                       28,417,403.18
 2/28/2019      130,797.91                              275,609.88 28,417,403.18                       28,417,403.18
 3/29/2019      135,469.26         (411,079.15)              (0.00) 28,417,403.18      (338,920.85)    28,078,482.33                          (750,000.00) Principal and interest
 3/31/2019        9,231.28                                9,231.28 28,078,482.33                       28,078,482.33
 4/16/2019       73,850.25           (83,081.53)              0.00 28,078,482.33     (1,216,918.47)    26,861,563.86                         (1,300,000.00) Principal and interest
 4/30/2019       61,818.39                               61,818.40 26,861,563.86                       26,861,563.86
 5/31/2019      136,883.59         (198,701.98)               0.00 26,861,563.86        198,701.98     27,060,265.84                                   ‐    *Annual Compound Interest
  6/4/2019       17,793.05          (17,793.05)               0.00 27,060,265.84       (282,206.95)    26,778,058.89                           (300,000.00) Principal and interest
 6/19/2019       66,028.09          (66,028.10)              (0.00) 26,778,058.89    (2,033,971.90)    24,744,086.99                         (2,100,000.00) Principal and interest
 6/30/2019       44,742.73                               44,742.73 24,744,086.99                       24,744,086.99
  7/9/2019       36,607.69           (81,350.42)             (0.00) 24,744,086.99      (548,649.58)    24,195,437.41                          (630,000.00) Principal and interest
 7/31/2019       87,501.31                               87,501.31 24,195,437.41                       24,195,437.41
 8/13/2019       51,705.32         (139,206.62)               0.00 24,195,437.41     (1,160,793.38)    23,034,644.03                         (1,300,000.00) Principal and interest
 8/31/2019       68,157.30                               68,157.31 23,034,644.03                       23,034,644.03
 9/30/2019      113,595.50                              181,752.81 23,034,644.03                       23,034,644.03
10/15/2019       56,797.75                              238,550.56 23,034,644.03                       23,034,644.03
10/31/2019       60,584.27                              299,134.83 23,034,644.03                       23,034,644.03
11/30/2019      113,595.50                              412,730.34 23,034,644.03                       23,034,644.03
12/30/2019      113,595.50         (530,112.36)          (3,786.52) 23,034,644.03                      23,034,644.03
12/31/2019        3,786.52                                    0.00 23,034,644.03                       23,034,644.03
 1/31/2020      117,382.02                              117,382.02 23,034,644.03                       23,034,644.03
 2/29/2020      109,808.99                              227,191.01 23,034,644.03                       23,034,644.03
 3/31/2020      117,382.02                              344,573.03 23,034,644.03                       23,034,644.03
 4/30/2020      113,595.50                              458,168.54 23,034,644.03                       23,034,644.03
 5/31/2020      117,382.02         (575,550.56)              (0.00) 23,034,644.03       575,550.56     23,610,194.59                                   ‐   *Annual Compound Interest
 6/30/2020      116,433.84                              116,433.83 23,610,194.59                       23,610,194.59
 7/31/2020      120,314.96                              236,748.80 23,610,194.59                       23,610,194.59
 8/31/2020      120,314.96                              357,063.76 23,610,194.59                       23,610,194.59
 9/30/2020      116,433.84                              473,497.60 23,610,194.59                       23,610,194.59
10/31/2020      120,314.96                              593,812.56 23,610,194.59                       23,610,194.59
11/30/2020      116,433.84                              710,246.40 23,610,194.59                       23,610,194.59
12/31/2020      120,314.96                              830,561.36 23,610,194.59                       23,610,194.59
 1/14/2021       54,335.79         (830,561.36)          54,335.79 23,610,194.59       (575,550.56)    23,034,644.03                         (1,406,111.92) Principal and interest
               Case 21-03006-sgj Doc 221 Filed 08/05/22                                          Entered 08/05/22 21:37:01                         Page 48 of 48


NPA Term


Closing Date                         5/31/2017
Total Commitment              $     30,746,812
Rate                                    6.000%
Maturity:                           12/31/2047
                                                                                                                              Total of
                                                                                                                            Outstanding
                                                                                                                           Principal and
                                                                                                                         Interest (selected
   Date    Interest Accrual       Interest Paid    Accrued Interest    Beg Prin Bal   Principal Paid   Ending Prin Bal         dates)          Total Paid
 1/31/2021       64,370.79                              118,706.58    23,034,644.03                     23,034,644.03
 2/28/2021      106,022.47                              224,729.05    23,034,644.03                     23,034,644.03
 3/31/2021      117,382.02                              342,111.07    23,034,644.03                     23,034,644.03
 4/30/2021      113,595.50                              455,706.58    23,034,644.03                     23,034,644.03
 5/31/2021      117,382.02         (573,088.60)                 ‐     23,034,644.03      573,088.60     23,607,732.63                                   ‐   *Annual Compound Interest
 6/30/2021      116,421.70                              116,421.70    23,607,732.63                     23,607,732.63
 7/31/2021      120,302.42                              236,724.11    23,607,732.63                     23,607,732.63
 8/31/2021      120,302.42                              357,026.53    23,607,732.63                     23,607,732.63
 9/30/2021      116,421.70                              473,448.23    23,607,732.63                     23,607,732.63
10/31/2021      120,302.42                              593,750.65    23,607,732.63                     23,607,732.63
12/17/2021      182,393.99                              776,144.63    23,607,732.63                     23,607,732.63      24,383,877.27
12/31/2021       54,330.12         (830,474.76)                 ‐     23,607,732.63   (1,040,339.37)    22,567,393.26                         (1,870,814.13) Principal and interest
 1/31/2022      115,000.96                              115,000.96    22,567,393.26                     22,567,393.26
 2/28/2022      103,871.84                              218,872.80    22,567,393.26                     22,567,393.26
 3/31/2022      115,000.96                              333,873.76    22,567,393.26                     22,567,393.26
 4/30/2022      111,291.25                              445,165.02    22,567,393.26                     22,567,393.26
 5/31/2022      115,000.96         (560,165.98)                 ‐     22,567,393.26      560,165.98     23,127,559.24                                   ‐   *Annual Compound Interest
 6/30/2022      114,053.72                              114,053.72    23,127,559.24                     23,127,559.24
 7/31/2022      117,855.51                              231,909.22    23,127,559.24                     23,127,559.24
  8/8/2022       30,414.32                              262,323.55    23,127,559.24                     23,127,559.24      23,389,882.79
 9/30/2022      201,494.90                              463,818.45    23,127,559.24                     23,127,559.24
10/31/2022      117,855.51                              581,673.96    23,127,559.24                     23,127,559.24
11/30/2022      114,053.72                              695,727.67    23,127,559.24                     23,127,559.24
12/31/2022      117,855.51                              813,583.18    23,127,559.24                     23,127,559.24
 1/31/2023      117,855.51                              931,438.69    23,127,559.24                     23,127,559.24
 2/28/2023      106,450.14                            1,037,888.82    23,127,559.24                     23,127,559.24
 3/31/2023      117,855.51                            1,155,744.33    23,127,559.24                     23,127,559.24
 4/30/2023      114,053.72                            1,269,798.05    23,127,559.24                     23,127,559.24
 5/31/2023      117,855.51        (1,387,653.55)                ‐     23,127,559.24    1,387,653.55     24,515,212.80                                   ‐   *Annual Compound Interest
